        Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 1 of 66




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE                          §
                               §
PRIMROSE LA SARA, LLC          §                       CASE NO. 16-30822
                               §                       CHAPTER 7
                               §
LA SARA OPERATING COMPANY, LLC §                       CASE NO. 16-30453
                               §                       CHAPTER 7
                               §
           DEBTORS             §                       CHIEF JUDGE DAVID R. JONES

TRUSTEE’S EXPEDITED MOTION FOR: (a) AUTHORITY TO SELL PROPERTY FREE AND
      CLEAR OF LIENS AND CLAIMS BY AUCTION, (b) APPROVAL OF BIDDING
PROCEDURES AND DESIGNATION OF STALKING HORSE BIDDER, (c) ESTABLISHMENT
 OF INSPECTION PROCEDURES, and (d) MOTION TO EXTEND DEADLINE TO ASSUME
  OR REJECT EXECUTORY CONTRACTS AND FOR AUTHORITY TO, ASSUME AND
         ASSIGN EXECUTORY CONTRACTS IN CONNECTION WITH SALE

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE THE
MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO RESOLVE THE
DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND
SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN
TWENTY-ONE (21) DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST
STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU
OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE
HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE
AT THE HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

AN EXPEDITED HEARING IS SET ON THIS MOTION IF YOU OBJECT TO
THE REQUESTED RELIEF OR IF YOU BELIEVE THAT THE EXPEDITED
    CONSIDERATION IS NOT WARRANTED, YOU SHOULD FILE AN
                   IMMEDIATE RESPONSE.
REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.


 AN EXPEDITED HEARING ON THE RELIEF SOUGHT HEREIN IS SET
 FOR NOVEMBER 8, 2016 AT 1:30 PM. CENTRAL TIME AT 515 RUSK, 4TH
        FLOOR, COURTROOM 400, HOUSTON, TEXAS 77002
To the Honorable David R. Jones,
Chief United States Bankruptcy Judge:

        COMES NOW Eva S. Engelhart, Chapter 7 Trustee (“Trustee”) of the above-referenced
        Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 2 of 66




bankruptcy estates and respectfully represents as follows:

                       A. Jurisdiction, Venue and Constitutional Authority

        1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This matter is

a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (B) and (N) and arises in and/or under Title 11.

The statutory predicate for the relief sought herein is 11 U.S.C. § 363, 365 and 105 and, Federal Rule of

Bankruptcy Procedure 6004.

        2.      Venue is proper under 28 U.S.C. §§ 1408 and/or 1409.

        3.      This Court has constitutional authority to enter a final order regarding this matter. The

matters raised herein have no equivalent in state law, thereby rendering the Supreme Court’s opinion in

Stern v. Marshall inapplicable. See In re Carlew, 469 B.R. 666, 672 (Bankr. S.D. Tex. 2012) (discussing

See Stern v. Marshall, 131 S.Ct. 2594 (2011)).           In the alternative, this motion concerns essential

bankruptcy matters which trigger the public rights exception. See Id.

                                 B. Procedural and Factual Background

        4.      On January 28, 2016, La Sara Operating Company, LLC (“La Sara”) filed for voluntary

Chapter 7 bankruptcy protection. On the same date, the Trustee was appointed interim Trustee and, having

since accepted the appointment and posted the requisite bond, has become permanent Trustee.

        5.      On February 17, 2016, Primrose La Sara, LLC (“Primrose”) filed for voluntary Chapter 11

bankruptcy protection and proceeded to operate as a Debtor-in-Possession until conversion of the case on

June 1, 2016. On the same date, the Trustee was appointed interim Trustee and, having since accepted the

appointment and posted the requisite bond, has become permanent Trustee.

        6.      Pursuant to that certain Asset Purchase Agreement dated November 22, 2010 and that

certain Conveyance, Assignment, and Bill of Sale effective December 31, 2010 (the “Blake Conveyance”),

Primrose, formerly Risco La Sara, LLC, acquired from BLAKEnergy, Ltd. (“Blake”)1 a 71.5% working


1
        Blake is owned and controlled by Mr. David Blake (hereinafter also referred to as “Blake”).
        Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 3 of 66




interest in two (2) mineral leases, commonly referred to as the “Crane Mallard Lease” and the “Roadrunner

Lease” (hereinafter also referred to as the “Leases” or the “Willacy Field”) which, at the time, encompassed

approximately 3,772.7 acres 2 in Willacy County, Texas, together with associated property, fixtures,

improvements, equipment, well files and contract rights, including a license agreement for seismic data.

The Blake Conveyance was recorded in the Willacy County, Texas, Real Property Records on January 21,

2011. The Crane Mallard Lease was originally dated December 1, 2001, and was between Fausto Yturria

Jr., et al. and Swift Energy. The Crane Mallard Lease covers 2,975.8 acres in Willacy County, Texas.

The RoadRunner Lease was originally dated April 11, 2005, and was between Fausto Yturria Jr., et al. and

Blake and initially covered 796.9 acres and is immediately adjacent to the acreage involved with the Crane

Mallard lease. Thereafter, RoadRunner was amended effective as of March 1, 2011 to, among other things,

expand its total acreage from approximately 769.9 to approximately 2,975.8 acres.

        7.      At the time of the sale by Blake to Risco La Sara (now Primrose) the remaining 28.5%

working interest in the Willacy Field, was owned 15% by Blake and 13.5% by Amerril Energy, LLC

(“Amerril”).   Blake has since retained its working interest; however, pursuant to that certain Cross

Assignment and Bill of Sale (the “Amerill Assignment”), Amerril transferred its working interest to

Primrose Petroleum, LLC (“PRIMPET”). The Amerril Assignment bears the date April 2, 2014, and was

filed in the Willacy County, Texas Real Property Records on April 15, 2014.

        8.      Up until January 7, 2016, La Sara was the designated contract operator of the Willacy Field.

A Model Form Operating Agreement dated January 5, 2011 (the “JOA”), governs the rights and obligations

of the working interest owners and the operator of the Willacy Field. A Memorandum of Operating

Agreement and Financing Statement of the JOA was filed in the Willacy County Real Property Records on

January 21, 2011 (the “Memorandum of JOA”). After January 7, 2016, the operator of the Willacy Field

was MK Operating Company, LLC (“MK Operating”).


2
        As described below, the Willacy Field acreage was subsequently expanded to approximately 6,000 acres.
        Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 4 of 66




        9.      On October 29, 2015, an Assignment and Bill of Sale was recorded in the Willacy County,

Texas, Real Property Records, whereby Primrose conveyed a 37% of the 8/8ths undivided interests in and

to the Crane Mallard and RoadRunner Leases to LaSara Ventures 1, LLC (“LSV1”) (hereafter that

transaction is referred to as the “LSV1 Transfer”). As a result of the LSV1 Transfer, the Primrose Estate

retained a 34.5% interest in the 8/8ths undivided interests in the Crane Mallard and RoadRunner Leases

(the “34.5% WI”).

        10.     On August 19, 2016, the Trustee, filed Adv. No. 16-03187, Eva S. Engelhart, Trustee of

the Chapter 7 Estate of Primrose La Sara, LLC and Eva S. Engelhart, Trustee of the Chapter 7 Estate of

La Sara Operating Company, LLC v. LaSara Ventures 1, LLC; Primrose Petroleum, LC; MK Operating

Company, LLC; Huisache E & P Company, LLC and Miles Redfield Klepper (the “Adversary Proceeding”)

which is pending before this Honorable Court. On October 20, 2016, the Trustee filed her First Amended

Complaint in the Adversary Proceeding. See attached Exhibit A (the “Amended Complaint”). By way

of summary only, the Amended Complaint seeks recovery of the LSV1 Transfer under both state and federal

fraudulent transfer and preference theories; enforcement of an operator lien by the La Sara estate as against

the 37% working interest transferred to LSV1 and the 13.5% transferred to PRIMPET; recovery of any pre-

or post-petition production revenue due to Primrose; recovery of claims for breach of the duties of loyalty

and/or care, as well as breach of fiduciary duty against Miles Klepper; turnover of books and records of

Primrose; and damages against Huisache E & P for trespass and/or conversion of reserves associated with

the Willacy Field (collectively the “Litigation Claims”).

        11.     The Leases are subject to identical provisions requiring continuous drilling obligations (the

“Continuous Drilling Obligations”). Under the Continuous Drilling Obligations, the drilling of a new well

must be commenced within 120 days of the conclusion of drilling of the last well drilled (subject to the

extensions more fully discussed below). Satisfaction of the Continuous Drilling Obligations maintains the

Leases beyond their primary term, provided 120 days did not elapse between the conclusion of drilling of

a well and commencement of actual drilling operations on the next well. Failure to comply with the
          Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 5 of 66




Continuous Drilling Obligations may result in the loss of the remainder of the oil and gas lease acreage

(and all rights as to depths beyond 100 feet below the deepest producing formation) which is (a) not

currently assigned to a production unit and (b) producing in paying quantities. In essence, such failure

may, in effect, result in a forfeiture of the right to explore for new hydrocarbons on the Leases.

          12.       The Crane Mallard Lease was amended effective April 27, 2009 (the “Crane Mallard

Amendment”) to include 2 new provisions with respect to the Continuous Drilling Obligations under the

Crane Mallard Lease:

             a “banked time” provision, which provides that if the drilling of a well is commenced prior to the
              120-day drilling deadline, the number of days remaining in such 120-day period would be
              credited as “banked days” (the “Banked Days”) which could thereafter be used to enlarge the
              120-day period to drill a subsequent well if such drilling was not commenced within the requisite
              120-day period; provided, however, that Banked Days cannot exceed 365 days; and

             a provision allowing the drilling of additional wells on the Crane Mallard Lease, the Roadrunner
              Lease, and a third lease to satisfy the Continuous Drilling Obligations.

          13.       Yturria #24 Deep, the last prepetition well drilled on the Crane Mallard Lease, reached

total depth on November 20, 2015. After commencing the drilling of the Yturria #47 well on April 30,

2016, a total of 4 Banked Days were accrued on the Crane Mallard Lease. Accordingly, the drilling of the

next well on the Crane Mallard Lease had to have been commenced on or before October 3, 2016. MK

Operating commenced a well, the Yturria #48, on the Crane Mallard Lease on September 27, 2016.

          14.       The Roadrunner Lease was amended in 2006, 2009, and 2011. The 2006 amendment

enlarged the primary term from one to two years. The 2009 amendment echoed the Crane Mallard

Amendment set forth above. The 2011 amendment increased the acreage covered by the Roadrunner lease

from approximately 769.9 to approximately 2,975.8 acres and provided for 2 additional provisions with

respect to the Continuous Drilling Obligations under the Roadrunner Lease:

                   a provision acknowledging that Risco La Sara (now Primrose) previously accumulated 365
                    Banked Days, used 346 of the 365 Banked Days, and thus had 19 Banked Days
                    remaining; and
         Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 6 of 66




               a provision that an additional 154 Banked Days could be earned by commencing the
                drilling of a well on the Roadrunner Lease before March 9, 2012 (which would then
                increase the total Banked Days to 201).

        15.     Yturria #32RR, the most recent prepetition well drilled on the Roadrunner Lease, reached

total depth on October 19, 2015. After commencing the drilling of the Yturria #29D well and the Yturria

#28D well on February 14, 2016 and February 20, 2016, respectively, a total of 154 Banked Days were

accrued on the Roadrunner Lease. Accordingly, if all 154 Banked Days are utilized before drilling the

next well, such drilling must commence by December 21, 2016.

     C. Motion for Authority to Sell Property Free and Clear of Liens and Claims by Auction,
          Approval of Bidding Procedures and Designation of Stalking Horse Bidder

        16.     The Trustee desires to sell the Primrose Estate’s 34.5% working interest in the Willacy

Field and the Litigation Claims (collectively the “Assets”) to the highest bidder at public auction. The

Trustee, in her business judgment, believes that an auction of the Assets is the most appropriate means by

which to maximize their value to each estate, versus continued the pursuit of the Adversary Proceeding for

at least the following reasons:

                 A.       The Value of the Assets Will be Diluted During Prosecution of the Adversary
        Proceeding: Under the JOA, each working interest owner is responsible for its proportionate
        share of costs of operations of the Willacy Field, including, but not limited to, costs associated with
        continuous drilling operations. The failure of a working interest owner who has been properly
        presented with an authorization for expenditure (“AFE”) to consent to, and fund, its share of a
        “lease saving operations” can lead to a forfeiture of its working interests in the Leases. With
        regard to the Yturria #48, the Primrose estate’s share was effectively carried by LSV 1, with no
        recourse to any assets of the estate beyond the estate’s interest in Yturria #48 and any production
        therefrom, as authorized by the certain Order Granting Joint Emergency Motion to Authorized
        Financing and Operations entered on September 15, 2016 at Docket Number 101. The estate’s
        portion of the cost to drill, test and complete the Yturria #48 well was approximately $140,000.
        LSV1 had indicated that it is not willing to enter into the same arrangement for drilling of the next
        well on the RoadRunner Lease which must be commenced by December 21, 2016. The Trustee
        anticipates receiving an AFE for the drilling of this new well in short order, after which the Primrose
        estate will have 30-days to consent thereto and fund it share of costs of drilling. If the anticipated
        cost of the well due in December is similar to that of Yturria #48, the Primrose estate’s
        proportionate share thereof will exceed $100,000. The Primrose estate lacks sufficient resources
        to meet such an obligation and will require third party financing. However, given the numerous
        legal issues involved with the Leases it is not reasonable to believe that traditional financing options
        are available. Thus, the estate would be confined to obtaining financing from parties already
        interested in acquiring an interest in the Willacy Field. Further, financing will undoubtedly not be
        Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 7 of 66




        on the non-recourse terms associated with Yturria #48 and will result in the encumbrance of the
        Assets to the detriment of creditors. Moreover, the continuous drilling operations, and costs
        associated therewith, are ongoing and will continue until resolution of the Adversary Proceeding
        and subsequent liquidation of whatever estate assets exist at that point. During that time period
        the Primrose estate will have to incur additional debt to finance its obligations under the JOA, or
        face forfeiture of its interests in the Willacy Field. The Adversary Proceeding is not currently set
        for trial. The Trustee, in her business judgment, believes that that a sale by auction mitigates the
        danger of dilution of value of the Assets as a result of costs associated the Primrose estate’s
        obligations under the JOA.

                 B.      The Lessors’ Reservation of Rights: Proof of Claim Numbers fifteen (15)
        through thirty-six (36) were filed by owners of the mineral interests which are the subject of the
        Leases. Each claim includes a reservation of rights as to whether prior lease saving operations
        were commenced within the time required under the Leases and/or whether such operations
        constitute “continuous drilling operations” as defined under the Leases. Attached hereto as
        Exhibits B and C are copies of the two forms of reservation of rights. The Trustee disputes any
        contention that prior operations were untimely, or did not constitute, continuous drilling operations
        a defined under the Leases and believes the working interest owners would prevail in litigation over
        these issues. However, the mere existence of this reservation creates an effective “cloud on title”
        as to the Primrose estate’s working interest in the Leases and may chill interest therein by the public
        at large. Further, if litigation where required to resolve these issues, the estate will face additional
        delays that will compound the financing issues discussed above. The Trustee, in her business,
        judgment believes it to be in the best interests of the estates and their creditors to mitigate these
        risks by an auction sale of the Assets with a Stalking Horse Bidder as set forth below. The Stalking
        Horse Bidder is aware of the Lessors’ reservation of rights.

                  C.     Risks of Litigation: The Trustee believes the Primrose and La Sara estates have
        reasonable chances of prevailing in the Adversary Proceeding. However, success is by no means
        assured and trial of the Adversary Proceeding could result in the failure to recover the LSV1
        Transfer (or the transfer to PRIMPET) and the encumbrance of the estate’s 34.5% with significant
        debt. The proposed auction allows for the Primrose estate to liquidate its interest in the 34.5%, and
        recover value for the working interest involved the LSV1 Transfer by the sale of the avoidance
        claims associated therewith. The Trustee, in her business judgment, believes the proposed auction
        sale is the most effective means by which to mitigate the risks of litigation.

        17.     The Trustee solicited bids from interested parties to act as a “Stalking Horse” bidder at any

auction sale approved by this Court. Of the two (2) bids received, the Trustee has accepted (subject to

Court approval) the bid of Tennyson Energy Investment Group, LLC (“Tennyson”) to act as a Stalking

Horse Bidder. The full terms and conditions of this agreement are set forth in the attached Exhibit D (the

“APA”). By way of summary only, the agreement provides that Tennyson will pay the estate $950,000.00

(“Stalking Horse Bid”) for the Assets and that it will act as Stalking Horse Bidder at the proposed auction.

If the Stalking Horse Bid is not the Successful Bid at the auction, the estate proposes to pay Tennyson a
         Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 8 of 66




“breakup fee” of $60,000.00. The negotiations between the Trustee and the Tennyson were conducted

over a period of time, at arms-length and in good faith. Tennyson’s bid was subject to a competing bid by

LSV1.

        18.      The Trustee requests authorization to sell the Assets, collectively not separately, to the

highest and best bidder at public auction to be held on November 29, 2016 at 10:00 a.m. (CST) at her

offices located at 7700 San Felipe, Suite 550, Houston, Texas 77063.

        19.      The Trustee requests that the auction be conducted according to the Bid Procedures

attached as Exhibit E. Additionally, the Trustee requests approval of the agreement with Tennyson to act

as a Stalking Horse Bidder and for payment of the “breakup fee” of $60,000.00 in the event that Tennyson

is not the Successful Bidder at auction. Finally, the Trustee requests that she be authorized to close the

sale of the Assets to the Successful Bidder without further Order of this Court.

        20.      The Assets to be sold will be sold in an AS IS WHERE IS condition with all faults and

defects, with no representations or warranties, express or implied, of any kind.

        21.      Save and except with regard to interests that run with the land the Trustee requests that the

Assets be sold free and clear of all liens, claims and encumbrances pursuant to 11 U.S.C. §§ 363 (b) and

(f), with any such claims attaching to the proceeds of sale. Further, except with respect to (i) the

effectiveness of the Sale of the Assets that are sold by and through the Order approving the relief sought

herein and the APA and (ii) the effectiveness of the transfer of all other rights and interests of Seller by and

through the Order and the APA, neither the factual recitations in the Motion nor any findings in the Order

shall have preclusive effect as to any fact, claim, issue, right, or remedy in the Adversary Proceeding, the

MK/Blake Adversary or any other litigation.

        22.      The Trustee also requests that the stay provided for under Federal Rule of Bankruptcy

Procedure 6004(h) be waived as time is of the essence due to the pending December 2016 drilling deadline.

        23.      The Trustee further requests that: (a) the Successful Bidder (or Backup Successful Bidder)

at auction be found to have acted in good faith with regard to all aspects of the sale of the Assets; (b) that
         Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 9 of 66




neither it nor the Trustee have engaged in any conduct that would cause or permit the application of 11

U.S.C. § 363(n) to the sale; (c) that the buyer qualifies as a good faith purchaser in accordance with 11

U.S.C. § 363(m), and is entitled to all of the protections afforded thereunder; and (d) absent a stay pending

appeal, the Buyer will be acting in good faith within the meaning of § 363(m) in closing the sale transaction.

                            D. Request for Order for Inspection Procedures

        24.     Parties interested in participating in the auction process will wish to conduct due diligence

as to the Assets being sold. To this end, the Trustee has agreed with MK Operating, subject to Court

approval, to the following “Inspection Procedures”:

                 1.      The estate will establish a virtual data room with the cooperation of MK Operating.
        The Trustee shall provide MK Operating with a written list of data required by the Trustee for the
        data room MK shall provide the requested data within a set period of time of when the Trustee’s
        list was received on October 31, 2016, except:

                        a.      If certain requested data is not in MK Operating’s possession, MK
                Operating will advise Trustee of this fact within one (1) business day of receipt of the
                Trustee’s list;

                         b.      If certain data requested by Trustee is not maintained in the ordinary
                course of business and would require MK to generate a new document, MK Operating shall
                not be required to do so and will advise Trustee of this fact within one (1) business day of
                receipt of the Trustee’s list; and

                         c.      If certain data requested by Trustee is already in the possession or control
                of Trustee, MK Operating shall advise Trustee of this fact within two (2) business day of
                receipt of the Trustee’s list.

                 2.     Potential bidders must execute a confidentiality agreement prior to any access to
        the data room in the form attached to the Bid Procedures.

                3.      The La Sara Field will be made available for a physical inspection by prospective
        bidders on two (2) dates within the 2-week period following approval of the auction procedures as
        ordered by the Court. Potential bidders must, in addition to executing the confidentiality
        agreement referenced above, also execute a Release and Waiver in the form attached to the Bid
        Procedures.

                4.       The estate shall reimburse MK Operating for all out of pocket expenses incurred
        as a result of affording potential bidders the opportunity to tour the La Sara Field. The out of
        pocket costs, not to exceed $250 per day, shall be for mileage costs at $0.54 per mile and lodging
        costs. MK Operating shall submit an invoice to the Trustee for all out of pocket expenses within
        ten (10) business days of completion of the auction, whereafter the estate shall pay all
        recompensable sums within thirty (30) days.
        Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 10 of 66




        19.     The Trustee requests entry of an Order providing for the foregoing Inspection Procedures

in connection with the proposed auction.

E. Motion to Extend Deadline to Assume or Reject Executory Contracts and for Authority
              To, Assume and Assign Executory Contracts in Connection with Sale

        20.     On July 20, 2016, the Court entered an Order extending the Trustee’s deadline to assume

or reject certain executory contracts to November 29, 2016. Good cause exists to extend this deadline to

December 7, 2016, so as to allow the Trustee to conduct the auction contemplated herein, close the

transactions and assume and assign the relevant executory contracts.

        21.     Further, 11 U.S.C. § 365(b)(1) provides –

    If there has been a default in an executory contract or unexpired lease of the debtor, the trustee may not
    assume such contract or lease unless, at the time of assumption of such contract or lease, the trustee—

        (A) cures, or provides adequate assurance that the trustee will promptly cure, such default . . . ;

        (B) compensates, or provides adequate assurance that the trustee will promptly compensate, a party
        other than the debtor to such contract or lease, for any actual pecuniary loss to such party resulting
        from such default; and

        (C) provides adequate assurance of future performance under such contract or lease.

        22.     11 U.S.C. § 365(f)(2) provides that a trustee may assign an executory contract if -

        (A) the trustee assumes such contract or lease in accordance with the provisions of this section;
        and

        (B) adequate assurance of future performance by the assignee of such contract or lease is
        provided, whether or not there has been a default in such contract or lease.

        23.     The Trustee requests authorization to assume and assign the JOA, and all related executory

contracts, in conjunction with the contemplated auction and closing thereof. The funds to be received from

the auction sale, as provided for in the Stalking Horse Bid, or such superior Successful Bid, provide

adequate assurance of cure/compensation under 11 U.S.C. § 365(b)(1). The Stalking Horse Bidder, or

other Successful Bidder, will provide adequate assurance of future performance under the executory

contracts to be assumed and assigned.
        Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 11 of 66




        24.      The Trustee posits that expedited consideration of the relief sought herein so as to allow

the closing of the contemplated sale sufficiently far in advance of the December 2016 drilling deadline

which, in turn, will allow any buyer to fulfill its obligations under the assumed and assigned JOA.

        25.      The Trustee advises that the proposed order accompanying this motion may be amended

prior to or at the hearing on the relief sought herein.

               E. Consent with Respect to Rights of Landowners/Mineral Lessors.

        26.      If Tennyson is the successful bidder and closes the sale pursuant to this Motion and the

Order, then all landowners and/or mineral lessors who receive notice of this Motion shall be deemed to

consent to the transfer and assignment of the Assets to Tennyson in all respects as might be applicable

under the Leases and as pertains to any consent required under the Leases.

        WHEREFORE, Applicant prays that this Court grant the relief sought herein and for such other

and further relief as is just and equitable.

                                                 Respectfully submitted,

                                                 /s/ Marc Douglas Myers
                                                 ___________________________
                                                 Marc Douglas Myers
                                                 Ross, Banks, May, Cron & Cavin, P.C.
                                                 SBN 00797133
                                                 7700 San Felipe, Suite 550
                                                 Houston, Texas 77063
                                                 (713) 626-1200; (713) 623-6014 fax
                                                 mmyers@rossbanks.com
                                                 COUNSEL FOR THE TRUSTEE

                                       CERTIFICATE OF SERVICE

         I hereby certify that on November 3, 2016, a true and correct copy of the foregoing was sent via
regular US mail to the Debtor, counsel for the Debtor, the Trustee, counsel for the Trustee, the US Trustee,
all creditors and all persons requesting notice as set forth below unless otherwise served by the CM-ECF
system. A supplemental certificate of service will be filed as to the landowners and/or mineral lessors who
received a copy of this Motion.

                                                 /s/ Marc Douglas Myers
                                                 ___________________________
                                                 Marc Douglas Myers
             Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 12 of 66




Adelaide Hebert, MD                 Feb/frys                            LA Fitness                         Reliant Bank
401 West Spreading Oaks             280 W 10200 S Ste 200               2600 Michelson Drive #300          1736 Carothers Pkwy, Suite 100
Friendswood, Tx 77546-4446          Sandy, UT 84070-4380                Irvine, California, 92612-6536     Brentwood, TN 37027-8167
                                                                        Houston, Texas
Amex/American Express               First Community Cred U                                                 Sears/cbna
P.O. Box 3001                       15260 FM 529                        Mary Hartman (Holderith)           P.O. Box 6189
16 General Warren Blvd              Houston, TX 77095-3252              16127 Copper Canyon                Sioux Falls, SD 57117-6189
Malvern, PA 19355-1245                                                  Friendswood, TX 77546-8105
                                    GECRB/Home Design                                                      SunTrust Bank
Atlas Advisors                      Attn: bankruptcy                    Matt Duffy                         901 Semmes Ave
c/o Evan Grappleberg                P.O. Box 103104                     247 Commercial Drive               Richond, VA 23224-2243
21 Fox Hollow Drive                 Roswell, GA 30076-9104              Yorkville, IL 60560-4579
East Quoque, NY 11942-3618                                                                                 Syncb/ashley Homestore
                                    GECRB/Jewelry Accents               Memorial City Bank                 C/o P.o. Box 965036
Bank of America                     Attention: Bankruptcy               Two Memorial City Plaza            Orlando, FL 32896-0001
P.O. Box 982238                     P.O. Box 103104                     820 Gessner #140
El Paso TX 79998-2238               Roswell, GA 30076-9104              Houston, TX 77024-4489             US Trustee
                                                                                                           Attn: Nancy Holley
Capital One, N.a.                   GECRB/Sams Club                     Option One Mortgage Co/American    515 Rusk Ave, Ste 3516
Capital One Bank (USA) N.A.         GECRB/Sams Club                     Home Mor                           Houston, TX 77002-2604
P.O. Box 30285                      P.O. Box 103104                     AHMSI, Inc
Salt Lake City, UT 84130-0285       Roswell, GA 30076-9104              P.O.Box 631730                     Ventra Consulting Ltd
                                                                        Irving, TX 75063-0002              1 Ashboune House
Chase                               HCA                                                                    10 Lawrie Park Gardens
P.O. Box 15298                      P.O. Box 403375                     Orthoequipe Ltd                    London, SD26 6HL
Wilmington, DE 19850-5298           Atlanta, GA 30384-3375              450 Medical Center Blvd Suit 206
                                                                        Webster, Texas 77598-4229          Wells Fargo
Chase-pier1                         Harris County MUD #55                                                  1 Home Campus X2303-01A
Chase Card Svcs/Attn:Bankruptcy     P.O. Box 73109                      Parker Strauss and Tom Usery       Des Moines, IA 50326
Dept                                Houston, TX 77273-3109              2485 E Southlake Blvd Ste 160
P.O. Box 15298                                                          Southlake, Texas 76092-6687        Wells Fargo
Wilmington, DE 19850-5298           Hudgins Law Firm                                                       P.O. Box 60510
                                    515 King Street Suite 400           Paul Looney                        Los Angeles, CA 90060-0510
Citibank                            Alexandria VA 22314-3149            13415 Fosca Lane
P.O. Box 790034                                                         Houston, Texas 77079               Whiteford, Taylor & Preston, LLP
St Louis MO 63179-0034              Hudgins Law Firm                                                       3190 Fairview Park Drive, Suite 300
                                    515 King Street, Ste 400            Project/gemb                       Falls Church, VA 22042-4559
Clay Investments                    Richmond, VA 22314-3149             P.O. Box 103104                    Attn: Justin Fasano
5427 Santa Chase Lane                                                   Roswell, GA 30076-9104
Sugar Land, TX 77479                Ian Reynolds MD P.A.                                                   YG Funding Group LLC
                                    450 Medical Center Blvd Suite 206   Prosperity Bank                    2720 Crest Ridge Road
Clear Creek ISD                     Webster, TX 77598-4229              100 West Medical Center Blvd       Hopkins, MN 55305-2807
P.O. Box 201930                                                         Webster, TX 77598-4212
Houston, TX 77216-1930              Kay M Gumbinner Trust                                                  Ian J Reynolds
                                    Robert Gumbinner Trustee            Prosperity Bank                    2905 Birch Baugh
D.Z. Kaufman, J.D. Ph.D.            c/o Kaufman Law Group PLLC          101 South Main St.                 Pearland, TX 77581-5917
Kaufman Law Group, PLLC             8000 Towers Cresent Drive Suite     Victoria, TX 77901-8154
8000 Towers Crescent Drive, Suite   1350                                                                   Reese Baker
1350                                Vienna, VA 22182-6207               Prosperity Bank                    Patrick Joseph Gilpin Jr
Vienna, VA 22182-6207                                                   104 W. Crockett St.                5151 Katy Freeway, Suite 200
                                    Klinette H. Kindred, Chapter 7      Cleveland, Texas 77327-3939        Houston, Tx 77007-2261
Everhome Mortgage Co/Ever Bank      Trustee
Attn: Bankruptcy Department         c/o Kutak Rock LLP                  Prosperity Bank                    Bayou-Medical Investments
301 West Bay Street                 1101 Connecticut Ave, N.W.          3515 W Camp Wisdom Rd              c/o Mr. Jeffrey E. Sher
Jacksonville, FL 32202-5184         Suite 100                           Dallas, TX 75237-2505              2727 Allen Parkway, Suite 900
                                    Washington DC 20036-4374
        Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 13 of 66




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE                                           §
                                                §              CASE NO. 16-30822
PRIMROSE LA SARA, LLC                           §              CHAPTER 11
                                                §
               DEBTOR                           §              CHIEF JUDGE DAVID R. JONES


EVA S. ENGELHART, TRUSTEE OF THE §
CHAPTER 7 ESTATE OF PRIMROSE LA  §
SARA, LLC; and EVA. S. ENGELHART,§
TRUSTEE OF THE CHAPTER 7 ESTATE  §
OF LA SARA OPERATING COMPANY,    §
LLC.                             §                             ADV. NO. 16-03187
                                 §
vs.                              §
                                 §
LASARA VENTURES 1, LLC; PRIMROSE §
PETROLEUM, LLC; MK OPERATING     §
COMPANY, LLC, HUISACHE E & P     §
COMPANY, LLC and MILES           §
REDFIELD KLEPPER                 §

                          FIRST AMENDED ORIGINAL COMPLAINT

To The Honorable David R. Jones,
Chief United States Bankruptcy Judge:

        COMES NOW Plaintiffs Eva S. Engelhart, Chapter 7 Trustee of the Estate of La Sara Operating

Co., LLC and Eva S. Engelhart, Chapter 7 Trustee of the Estate of Primrose La Sara, LLC and files this

Original Complaint and would show as follows:

                                             A. Parties

        1.     Eva S. Engelhart, Chapter 7 Trustee of the Estate of La Sara Operating Co., LLC (the “La

Sara Trustee”), is the duly appointed Chapter 7 Trustee in Case No. 16-30453, In re La Sara Operating

Company, LLC, pending before this Honorable Court. The Trustee may be served through the undersigned

counsel.

        2.     Eva S. Engelhart, Chapter 7 Trustee of the Estate of Primrose La Sara, LLC (the “Primrose
          Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 14 of 66



Trustee”),1 is the duly appointed Chapter 7 Trustee in Case No. 16-30822, pending before this Honorable

Court.     The Trustee may be served through the undersigned counsel.

           3.       LaSara Ventures 1, LLC, is a Texas Limited Liability Company and may be served with

summons and complaint at the following address:

                                               LaSara Ventures 1, LLC
                                               c/o Ray Johnson
                                               13 Suffolk Dr.
                                               Midland, Texas 79705

           4.       Primrose Petroleum, LLC, is a Texas Limited Liability Company and may be served with

summons and complaint at the following address:

                                               Primrose Petroleum, LLC
                                               c/o Miles Redfield Klepper, Registered Agent
                                               2728 McKinnon #2014
                                               Dallas, Texas 75201

           5.       MK Operating Company, LLC , is a Texas Limited Liability Company and may be served

with summons and complaint at the following address:

                                               MK Operating Company, LLC
                                               c/o Miles Redfield Klepper, Registered Agent
                                               2728 McKinnon #2014
                                               Dallas, Texas 75201

           6.       Huisache E & P Company, LLC, is a Texas Limited Liability Company and may be served

with summons and complaint at the following address:

                                               Huisache E & P Company, LLC
                                               c/o Petro Energy Group, Registered Agent
                                               11623 Spring Cypress Unit C
                                               Tomball, Texas 77377

       7.     Miles Redfield Klepper, is an individual residing in the State of Texas and may be served
with summons and complaint at the following address:

                                               Miles Redfield Klepper
                                               2728 McKinnon St., Apt. 2014
                                               Dallas, Texas 75201-1650

                                             B. Jurisdiction and Venue


1   Eva S. Englehart may also be generally referred to as “Trustee”.
        Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 15 of 66



        8.      This adversary proceeding arises in and relates to the above-styled Chapter 7 bankruptcy

case and the Chapter 7 bankruptcy case of Primrose Lara LLC. This Court has jurisdiction over this

proceeding pursuant to 28 U.S.C. § 1334. This proceeding involves claims arising under Chapter 5 of the

United States Bankruptcy Code, such claims are core proceedings pursuant to 28 U.S.C. § 157(b)(2)(A),

(E), (H), (K) and/or (O). This proceeding also involves claims arising under state law which, to the extent

that such claims are non-core proceedings, the Court may hear pursuant to 28 U.S.C. § 157(c)(1). Venue

is appropriate in this District pursuant to 28 U.S.C. § 1409. The Trustee consents to the entry of a final

judgment by this Court if Defendants make an appearance. If Defendants fail to appear, the Trustee

respectfully requests the Court issue proposed findings of fact and conclusions of law to the District Court

for entry of a final default judgment.

                                           C. Factual Background

        9.      On January 28, 2016, La Sara Operating Company, LLC (“La Sara”) filed for voluntary

Chapter 7 bankruptcy protection. On the same date, the Trustee was appointed interim Trustee and later

became permanent Trustee. As detailed more thoroughly below, La Sara was formerly known as Risco La

Sara Operations, LLC.

        10.     On February 17, 2016, Primrose La Sara, LLC (“Primrose”) filed for voluntary Chapter 11

bankruptcy protection and proceeded to operate as a Debtor-in-Possession until conversion of the case on

June 1, 2016. As detailed more thoroughly below, Primrose was formerly known as Risco La Sara, LLC.

        11.     Pursuant to that certain Asset Purchase Agreement dated November 22, 2010 and that

certain Conveyance, Assignment, and Bill of Sale effective December 31, 2010 (the “Blake Conveyance”),

Risco La Sara, LLC (“Risco La Sara”) acquired from BLAKEnergy, Ltd. (“Blake”)2 a 71.5% working

interest in 2 mineral leases, commonly referred to as the “Crane Mallard Lease” and the “Roadrunner

Lease” (hereinafter referred to as the “Yturria Leases” or the “Willacy Field”) which, at the time,




2
        Blake is owned and controlled by Mr. David Blake (hereinafter also referred to as “Blake”).
        Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 16 of 66



encompassed approximately 3,772.7 acres3 in Willacy County, Texas, together with associated property,

fixtures, improvements, equipment, well files and contract rights, including a license agreement for seismic

data. The Blake Conveyance was recorded in the Willacy County, Texas, Real Property Records on January

21, 2011. The two leases comprising the Willacy Field are more commonly referred to as “Crane Mallard”

and “RoadRunner”. The Crane Mallard lease was originally dated December 1, 2001, and was between

Fausto Yturria Jr., et al. and Swift Energy. Crane Mallard covers 2,975.8 acres in Willacy County, Texas.

The RoadRunner lease was originally dated April 11, 2005, and was between Fausto Yturria Jr., et al. and

Blake and initially covered 796.9 acres and is immediately adjacent to the acreage involved with the Crane

Mallard lease. Thereafter, RoadRunner was amended effective as of March 1, 2011 to, among other things,

expand its total acreage from approximately 769.9 to approximately 2,975.8 acres.

        12.     The remaining 28.5% working interest in the Willacy Field was owned 15% by Blake and

13.5% by Amerril Energy, LLC (“Amerril”). Pursuant to that certain Cross Assignment and Bill of Sale

(the “Amerill Assignment”) Amerril transferred its working interest in the Willacy Field to Primrose

Petroleum, LLC (“PRIMPET”). PRIMPET was formed on January 27, 2014, and is owned/controlled by

Mr. Klepper and/or Klepper et al. (as defined below). The Amerril Assignment appears to have been signed

on April 2, 2014, and was filed in the Willacy County, Texas Real Property Records on April 15, 2014.

        13.     Up until January 7, 2016, La Sara was the designated contract operator of the Willacy Field.

A Model Form Operating Agreement dated January 5, 2011 (the “JOA”), governs the rights and obligations

of the working interest owners and the operator of the Willacy Field. A Memorandum of Operating

Agreement and Financing Statement of the JOA was filed in the Willacy County Real Property Records on

January 21, 2011 (the “Memorandum of JOA”).

        14.     Pursuant to that certain Membership Interests Purchase Agreement dated January 29, 2014,

between PRIMPET and Risco Energy USA, Inc., PRIMPET acquired a majority of the membership

interests in Risco La Sara, LLC. On February 10, 2014, Risco La Sara, LLC changed its name to Primrose



3
        As described below, the Willacy Field acreage was subsequently expanded to approximately 6,000 acres.
          Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 17 of 66



La Sara, LLC. On February 13, 2014, Risco La Sara Operations, LLC changed its name to La Sara

Operating Company, LLC.

           15.      The Amerril Assignment recites that Amerril owed La Sara $351,279.334 for unpaid joint

interest billings, and that PRIMPET was assuming payment of this obligation (the “PRIMPET Transfer”).

However, PRIMPET never paid any portion of this obligation; rather, Mr. Klepper and/or other control

parties of the Defendants (collectively “Klepper et al.”) caused La Sara to write off this entire obligation as

“bad debt” and took no action to collect the debt. Given that this was part of the consideration paid for the

Amerril Assignment, this amounts to a failure to pay part of the consideration.

           16.      Throughout 2015, Primrose/La Sara continued to operate the Willacy Field and sent joint

interest billings statements (“JIBs”) On June 26, 2014, La Sara Ventures 1, LLC (“LSV 1”) was formed by

Mr. Klepper. The membership of LSV 1 is composed of investors primarily from Midland, Texas, with

whom Mr. Klepper had an existing relationship. At all times relevant, Mr. Klepper has had a position of

responsibility, authority and/or influence with regard to LSV 1, whether as an employee, manager and/or

representative thereof while also having substantive personal, financial and/or business relationships with

the members of LSV 1. Further, at all time relevant, Mr. Klepper has had a position of responsibility,

authority and influence with regard to both Primrose and La Sara, whether as employee, manager, officer,

director, and/or representative thereof, as well as having the same or similar relationships/capacities with

the members of both entities. LSV 1 and its control parties are hereafter included in the term “Klepper et

al.”

           17.      On October 29, 2015, an Assignment and Bill of Sale was recorded in the Willacy County,

Texas, Real Property Records, whereby Primrose conveyed a 37% of the 8/8ths undivided interests in and

to the Crane Mallard and RoadRunner leases to LSV 1 (hereafter the “LSV 1 Transfer”). Mr. Klepper was

a control party/representative on both sides of this transaction and all transactions leading up thereto.

           18.      There is no written contract, or other form of written agreement, between Primrose and



4   La Sara’s books and records indicate that this debt was actually $354,778.02.
        Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 18 of 66



LSV 1 for the LSV 1 Transfer. There is no written agreement between Primrose and LSV 1 wherein LSV

1 agreed to answer for the debts of Primrose. Although Defendants allege LSV 1 paid for the LSV 1

Transfer, Primrose’s accounting/bank records suggest that most money paid to it in 2014 came from

Primrose Resources, LLC (“PRIMRES”), not LSV 1, but was credited to LSV 1’s joint interest billing

account. So you have advances without any written agreement between Primrose with either LSV 1 or

PRIMRES that supposedly later form the consideration for the October 2015 transfer of the working

interest, long after the advances were made.

        19.     At the time of the LSV 1 Transfer, Primrose was indebted to La Sara in the amount of at

least $2,172,936.39 for unpaid JIBs.

        20.     On December 28, 2015, Huisache E & P Company, LLC (“Huisache”)5, another entity

owned/controlled by Mr. Klepper and/or Klepper et al., was approved by the Texas Railroad Commission

to act as an operator of and oil and gas well(s), and is currently the designated operator for a number of oil

and/or gas wells in Guadalupe, Hidalgo and Willacy Counties. Based on information and belief, Klepper

et al. have purchased a mineral lease on land contiguous to the Willacy Field. Using seismic information,

geologic analysis and data created by Primrose and La Sara, Huisache drilled two wells on the adjacent

land in late 2015 and early 2016. Huisache utilizes the services of the same staff, including Julian Ayala,

Land Manager, who also acts as MK Operating’s Land Manager, and formerly served as Primrose's Land

Manager.

        21.     On December 1, 2015, Mr. Klepper formed MK Operating Company, LLC (“MK

Operating”). On December 28, 2015, MK Operating was approved as an oil and gas well operator by the

Texas Railroad Commission. On January 7, 2016, Mr. Klepper sent notice to the working interest owners

of the Willacy Field that La Sara had resigned as operator and that LSV 1 had nominated MK Operating to

replace it as operator. La Sara filed for Chapter 7 bankruptcy protection on January 28, 2016.

        22.     On May 11, 2016, while the Primrose case was still under Chapter 11 of the Bankruptcy


5Huisache was originally formed on March 11, 2010, as Timberwolf E & P, LLC (“Timberwolf”). It was not until
November 6, 2015, that Timberwolf changed its name to Huisache E & P Company, LLC.
        Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 19 of 66



Code, Klepper et al., caused Primrose to file a motion to sell its working interest in the leases to Humid Oil

Company, LLC (“Humid Oil”) for $500,000 [Docket Number 36] (the “Sale Motion”). The proposed sale

was conditioned on the avoidance of Blake’s production and nets profits interests. However, the Sale

Motion failed to disclose it was an insider sale in that Humid Oil has common ownership with LSV 1. The

Trustee was recently advised that Humid Oil, or its owners, has since acquired ownership of PRIMPET.

Hereafter, Humid Oil, and its control parties, are hereafter included in the term “Klepper et al.”

        23.     On June 2, 2016, the Sale Motion was mooted by entry of an Agreed Amended Order

Granting Motion to Convert [Docket Number 57, Case No. 16-30822]. The Conversion Order provided,

in part, that the Primrose was to turn over all books and records to the Trustee within 5-days. Although

Primrose/La Sara turned over the data files for software utilized by the Debtor to manage O&G operations

at the Willacy Field, Primrose’s 2014 tax return, and what purports to be an electronic copy of its general

ledger, the Trustee did not receive tax returns beyond 2014; contracts or other documents related to the

LSV 1 Transfer (which the Trustee now believes simply does not exist), contract or documents related to

any other transaction entered into by Primrose of any kind; correspondence or communications of any

kind; resolutions or minutes of any kind; corporate governance/ownership related documents; or other

documents commonly associated with the financial activity, governance or ownership of a business.

        24.     Based upon publicly available production data, it appears that from January 1, 2016

through the end of April 2016, approximately 8,516 barrels of oil were produced from the Crane Mallard

and RoadRunner leases. Assuming that all production was sold at $40 per barrel, approximately $340,000

in gross revenue was generated through April 2016. Although the Primrose Estate holds a 34% working

interest in this production, the Primrose Trustee has not been provided any evidence of payment of funds

to the Debtor nor an accounting of how any of the gross proceeds of sale were disposed of by MK Operating.

However, it does appears that at least some of the funds generated by the sale of production were being

paid directly to Mr. Klepper as, per his own testimony, MK Operating was paying him a salary of
        Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 20 of 66



$10,000/month, plus the salaries of former officers or employees of Primrose and/or La Sara.6

                                              D. Causes of Action

        Count I – The LSV 1 Transfer is Recoverable under 11 U.S.C. §§ 548, 550

        25.      The factual allegations set forth herein are re-alleged and incorporated herein for purposes

of Count I.

        26.      The LSV 1 Transfer was a transfer of an interest of Primrose in property made on or within

two (2) years before the date of the filing of the petition made with the actual intent to hinder, delay and/or

defraud existing creditors of the Primrose.

        27.      Alternatively and/or in addition thereto, the LSV 1 Transfer, was a transfer of an interest

of Primrose in property made on or within two (2) years before the date of the filing of the petition, whereby

less than reasonably equivalent value was received in exchange for such transfer; and Primrose was

insolvent on the date of the transfer or became insolvent as a result of the transfer.

        28.      Alternatively and/or in addition thereto, the LSV 1 Transfer was a transfer of an interest of

Primrose in property made on or within two (2) years before the date of the filing of the petition, whereby

less than reasonably equivalent value was received in exchange for such transfer; and Primrose was engaged

in business or a transaction, or was about to engage in business or a transaction, for which any property

remaining with the debtor was an unreasonably small capital.

        29.      Alternatively and/or in addition thereto, the LSV 1 Transfer, was a transfer of an interest

of Primrose in property made on or within two (2) years before the date of the filing of the petition, whereby

less than reasonably equivalent value was received in exchange for such transfer; and Primrose intended to

incur, or believed that the debtor would incur, debts that would be beyond the debtor’s ability to pay as

such debts matured.

        30.      Section 550(a)(1) of the Code provides that:


6 Klepper’s payment of all salaries of employees and his own $10,000 per month salary vastly exceeds the amounts

allowed for overhead under the JOA. The JOA Copas Accounting Procedures provide that the Operator shall be paid
a “fixed rate” for overhead in the amount of $10,000 per month for the “drilling well rate” and $1,000 per month for
the “producing well rate.”
        Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 21 of 66



                Except as otherwise provided in this section, to the extent that a transfer is avoided under
        section . . . 547, 548 . . . of this title, the trustee may recover, for the benefit of the estate, the
        property transferred, or, if the court so orders, the value of such property, from—

              a.        the initial transferee of such transfer or the entity for whose benefit such transfer
        was made; . . .

        31.       LSV 1 was the initial transferee with regard to the LSV 1 Transfer. To the extent that LSV

1 is a subsequent transferee, it is not a good faith transferee.

        32.       The Primrose Trustee is entitled to avoid and recover the LSV 1 Transfer under 11 U.S.C.

§§ 548 and 550.

Count II – The LSV 1 Transfer is Recoverable under 11 U.S.C. § 547, 550

        33.       The factual allegations set forth herein are re-alleged and incorporated herein for purposes

of Count II.

        34.       LSV 1 is an insider of the Primrose Estate.

        35.       Within the 1-year period prior to the Petition Date, the LSV 1 Transfer was made to LSV

1.

        36.       The LSV 1 Transfer was a transfer of an interest of the Debtor in property.

        37.       The LSV 1 Transfer was made on account of an antecedent debt and/or obligation.

        38.       The LSV 1 Transfer was made while the Debtor was insolvent.

        39.       The LSV 1 Transfer enabled LSV 1 to receive more than it would had the transfer not been

made and the interest liquidated in a Chapter 7 case.

        Count III – The LSV 1 Transfer is Recoverable under Texas Business and Commerce Code
        § 24.001 et seq.

        40.       The factual allegations set forth herein are re-alleged and incorporated herein for purposes

of Count III.

        41.       At the time of the LSV 1 Transfer, Primrose was subject to creditor claims beyond its

ability repay on a timely basis.

        42.       The LSV 1 Transfer was done with the actual intent to hinder, delay or defraud the creditors

of the Primrose estate
        Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 22 of 66



        43.      Alternatively and/or in addition thereto, The LSV 1 Transfer was done without the

exchange of reasonably equivalent value while Primrose was engaged, or was about to engage, in business

or a transaction for which the remaining assets of the debtor were unreasonably small in relation to the

business or transaction.

        44.      Alternatively and/or in addition thereto, the LSV 1 Transfer was done without the exchange

of reasonably equivalent value and Primrose intended to incur, or believed or reasonably should have

believed it would incur, debts beyond its ability to pay as they became due.

        45.      Alternatively and/or in addition thereto, the LSV 1 Transfer was made without Primrose

receiving reasonably equivalent value and while it was insolvent, or became insolvent as a result of the

transfer or obligation.

        46.      Alternatively and/or in addition thereto, the LSV 1 Transfer was made to an insider for an

antecedent debt, the debtor was insolvent at that time, and the insider had reasonable cause to believe that

the debtor was insolvent.

        47.      The Primrose Trustee is entitled to avoid and recover the LSV 1 Transfer under Texas

Business and Commerce Code § 24.008.

        48.      Pursuant to Texas Business and Commerce Code § 24.013, the Primrose Trustee requests

all reasonable attorney’s fees and costs incurred in pursuit of these claims.

        Count IV – Foreclosure of Operator’s Lien Against LSV 1 Working Interest

        49.      The factual allegations set forth herein are re-alleged and incorporated herein for purposes

of Count IV.

        50.      Pursuant to Section VII(B) of the JOA, the operator is granted a lien against all of a non-

operator’s oil and gas rights in the Willacy Field, and a security interest in its share of oil and gas when

extracted and its interest in all equipment (“Operator Lien”) to secure payment of the non-operator’s share

of operating expenses as follows:
        Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 23 of 66




        51.         At the time of the LSV 1 Transfer, Primrose was indebted to La Sara in the amount of at

least $2,165,971.73 for its share of operating expenses, with such debt being secured by lien against

Primrose’s working interest in the Willacy Field. La Sara’s Operator Lien was perfected by virtue of the

filing of the Memorandum of JOA in the Real Property Records of Willacy County, Texas. Accordingly,

LSV 1 took the 37% working interest received by it, subject to the Operator Lien in favor of La Sara

securing a debt in the amount of at least $2,165,971.73. In the event the LSV 1 Transfer is not avoided,

the La Sara Trustee requests in the alternative a judgment foreclosing its Operator Lien against LSV 1’s

working interest, production proceeds and equipment and ordering a foreclosure sale of such property to

satisfy the debt.


        Count V –Foreclosure of Operator’s Lien Against PRIMPET’s Working Interest

        52.         The factual allegations set forth herein are re-alleged and incorporated herein for purposes

of Count V.

        53.         At the time of the PRIMPET Transfer, Amerill was indebted to La Sara in the amount of

at least $351,279.33 for its share joint interest billings, with such debt being secured by the Operator Lien

against Amerill’s working interest in the Willacy Field, and any production proceeds and equipment,
        Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 24 of 66



PRIMPET assumed liability to pay the $351,279.33 as part of the consideration for the PRIMPET Transfer.

Accordingly, PRIMPET took the 13.5% working interest received by it from Amerril, subject to a lien in

favor of La Sara to secure its obligations to pay the $351,279.33 and any other amounts to become due

under the terms of the JOA. In the event, the Trustee reacquires title to the working interest through

avoidance and/or foreclosure, the La Sara Trustee requests a judgment for $351,279.33, plus any other

amounts owing to La Sara under the terms of the PRIMPET Transfer or the JOA and for the foreclosure of

La Sara’s Operator Lien covering PRIMPET’s working interest, production proceeds and equipment to

satisfy the debt.

        Count VI – Transfer of Property of the Estate Recoverable under 11 U.S.C. §§ 549, 550 and
        Request for Accounting

        54.         The factual allegations set forth herein are re-alleged and incorporated herein for purposes

of Count VI.

        55.         Primrose holds a 34% working interest in the Willacy Field and is entitled to a share of the

revenue associated with the sale of production of oil and gas. Since the filing of Primrose’s Chapter 11

petition, at least 8,500 barrels of oil and an unknown amount of natural gas has been produced from the

Willacy Field and sold to one or more third parties. MK Operating has been the operator of the Willacy

Field since the Petition Date and has caused the sale of production and utilized the proceeds of sale without

the oversight of, input from or accounting to working interest owners not otherwise aligned with it. Post-

petition/conversion production from the Willacy Field, and the proceeds of sale thereof, are property of the

Estate, the disposition of which has not been authorized by this Court. The Trustee requests a judgment

against MK Operating for the value of property of the Estate transferred to it pursuant to 11 U.S.C. § 549(a).

        56.         Section 550(a)(1) of the Code provides that:

                Except as otherwise provided in this section, to the extent that a transfer is avoided under
        section . . . 547, 548 . . . of this title, the trustee may recover, for the benefit of the estate, the
        property transferred, or, if the court so orders, the value of such property, from—

                    a.    the initial transferee of such transfer or the entity for whose benefit such transfer
                    was made; . . .

        57.         MK Operating was the initial transferee with regard to the transfer of oil and/or gas
           Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 25 of 66



production, or proceeds thereof, which was property of the Estate. MK Operating is not a good faith

transferee, whether it is an initial or subsequent transferee.

           58.    The Trustee further requests that MK Operating be made to account for its use and

disposition of all proceeds of sale of production of oil and gas from Willacy Field since becoming operator

thereof.

           Count VII – Violation of the Automatic Stay

           59.    The factual allegations set forth herein are re-alleged and incorporated herein for purposes

of Count VII.

           60.    MK Operating, LSV 1 and Mr. Klepper are actively engaged in a coordinated effort to

suppress production of the Willacy Field, minimize the value of the Roadrunner and Crane Mallard leases

and discourage the investment/purchase by anyone other than the Klepper, et al. parties. Further, such

parties have purposefully withheld records and documents of the Estate and other records related to the

operator’s post-petition activity with the intent to either secret and/or destroy such information to further

suppress the value of the Estates’ interest and to coerce a sale to the Klepper et al. parties. Such actions

amount to a knowing and intentional violation of the automatic stay provided for under 11 U.S.C. § 362.

The Trustee requests both interim relief and a judgment for all actual damages, punitive damages and

reasonable and necessary attorney’s fees related to such violations.

           Count VIII – Breach of Duties of Loyalty and Care and Fiduciary Duty

           61.    The factual allegations set forth herein are re-alleged and incorporated herein for purposes

of Count VIII.

           62.    At all times relevant Mr. Klepper has been an officer and/or director of both La Sara and

Primrose. As an officer and/or director, Mr. Klepper had fiduciary duties and obligations to the Debtors

and, when insolvent, to their creditors, as well as duties of care and loyalty to La Sara and Primrose. As

demonstrated above, Mr. Klepper thoroughly and repeatedly violated, and continues to violate, these duties

and acted in his own self-interest at the expense of La Sara, Primrose and their creditors, both pre- and post-

petition. The La Sara Estate has been damaged by Mr. Klepper’s breach his duties thereto in at least of the
        Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 26 of 66



amounts of La Sara’s Operator Liens against LSV 1 and PRIMPET. The Primrose Estate has been damaged

by Mr. Klepper’s breach of his duties thereto in at least of the amounts of the value of the LSV 1 Transfer,

post-petition transfers of estate property and violations of the automatic stay.

        Count IX – Turnover of Books and Records

        63.      The factual allegations set forth herein are re-alleged and incorporated herein for purposes

of Count IX.

        64.      On June 2, 2016, an Agreed Amended Order Granting Motion to Convert was entered at

Docket Number 57 in Case No. 16-30822. In addition to conversion, the control parties for Primrose were

was required to turn over all books and records to the Trustee within 5-days. Although the Trustee has

received a copy of Primrose’ 2014 tax return, and what purports to be an electronic copy of its general

ledger, she has not received tax returns beyond 2014; accounting data beyond the foregoing; contracts or

other documents related to the transaction with LSV 1 (or any other transaction); correspondence or

communications of any kind; resolutions or minutes of any kind; corporate governance/ownership related

documents; or other documents commonly associated with the financial activity, governance or ownership

of a business. The Trustee requests relief requiring that all books and records of the Primrose estate be safe

guarded and maintained in full and intact until delivered to the Trustee.

        Count X – Conversion and Turnover of Production or Proceeds of Production of Huisache
        Wells

        65.      The factual allegations set forth herein are re-alleged and incorporated herein for purposes

of Count X.

        66.      In late 2015 and then again in early to mid-2016, Huisache drilled an oil and gas well on

land immediately adjacent to the Willacy Field. Mr. Klepper admitted in the 341 meeting for the Primrose

case that he had an ownership interest in Huisache, but refused to testify as to what extent. These wells

were drilled using seismic data owned/licensed by La Sara and/or Primrose. Although publicly available

production information does not indicate that either of these wells are currently producing, it is believed

they are capable of doing so and would draw from and drain the reserves associated with the Willacy Field,
       Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 27 of 66



thereby trespassing on and converting property of the estate. To the extent that these wells become

producing and do drain from the reserves of the Willacy Field, the Trustee requests a money judgment for

all damages.

       WHEREFORE, premises considered, Plaintiffs, pray that this Honorable Court grant judgment as

follows:

       a.      A judgment for the Primrose Estate recovering the working interest transferred to LaSara
               Ventures 1, LLC;
       b.      A judgment authorizing the foreclosure of La Sara’s Operator Lien against LaSara
               Ventures 1, LLC’s working interest, production proceeds and equipment and ordering a
               foreclosure sale of such property to satisfy the debt;
       c.      A judgment recovering authorizing the foreclosure of La Sara’s Operator Lien against
               Primrose Petroleum’s working interest, production proceeds and equipment and ordering
               a foreclosure sale of such property to satisfy the debt
       d.      A judgment recovering all property of the estate transferred post-petition;
       e.      A judgment for actual damages sustained as a result of Defendant’s violation of the
               automatic stay;
        f.     A judgment for punitive damages as a result of Defendant’s violation of the automatic stay;
        g.     A judgment against Miles Klepper for all monetary damages sustained by the La Sara and
               Primrose estates.
        h.     All reasonable and necessary attorney’s fees as allowed by law;
        i.     Pre- and post-judgment interest at the maximum rate allowed by law;
        j.     Such other and further relief to which the Trustee may show herself entitled.

                                                Respectfully submitted,

                                                /s/ Randy W. Williams
                                                ___________________________
                                                Randy W. Williams
                                                Thompson & Knight, LLP
                                                SBN 21566850
                                                333 Clay St., Suite 3300
                                                Houston, Texas 77002
                                                (713) 653-8645; (832) 397-8181 fax
                                                randy.williams@tklaw.com
                                                SPECIAL COUNSEL FOR THE LA SARA
                                                TRUSTEE AND PRIMROSE TRUSTEE

                                                -and-

                                                /s/ Marc Douglas Myers
                                                ___________________________
                                                Marc Douglas Myers
                                                Ross, Banks, May, Cron & Cavin, P.C.
                                                SBN 00797133
                                                7700 San Felipe, Suite 550
                                                Houston, Texas 77063
Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 28 of 66



                             (713) 626-1200; (713) 623-6014 fax
                             mmyers@rossbanks.com
                             GENERAL COUNSEL FOR THE LA SARA
                             TRUSTEE AND PRIMROSE TRUSTEE
Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 29 of 66
Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 30 of 66
Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 31 of 66
Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 32 of 66
Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 33 of 66
                             Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 34 of 66

  Fill in this information to identify the case:

  Debtor 1              Primrose La Sara, LLC f/k/a Risco La Sara, LLC
                        __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________
                                          Southern District      __________
                                                            ofofTexas
                                                      District

  Case number            16-30822
                         ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                     

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                      Martin E. Garcia
                                      ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been                ✔
                                         No
   acquired from
   someone else?                         Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      Christopher H. Trickey
                                      _____________________________________________________                       _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     401 Congress Ave., Suite 2200
                                      ______________________________________________________                      ______________________________________________________
                                      Number      Street                                                          Number      Street
                                      Austin                     TX           78701
                                      ______________________________________________________                      ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone   512.480.5620
                                                       ________________________                                   Contact phone   ________________________

                                      Contact email   ctrickey@gdhm.com
                                                       ________________________                                   Contact email   ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend              ✔
                                         No
   one already filed?
                                         Yes. Claim number on court claims registry (if known) ________                                Filed on   ________________________
                                                                                                                                                   MM / DD       / YYYY



5. Do you know if anyone              ✔
                                         No
   else has filed a proof                Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




  Official Form 410                                                             Proof of Claim                                                             page 1
                     Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 35 of 66


 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ✔ No
                                 
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:      ____ ____ ____ ____
   debtor?


                                      UNKNOWN AT THIS TIME
7. How much is the claim?          $_____________________________. Does this amount include interest or other charges?
                                                                                No
                                                                                Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 See Exhibit "A" (attached hereto)
                                 ______________________________________________________________________________



9. Is all or part of the claim   ✔ No
                                 
   secured?                       Yes.    The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:           _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed)_______%
                                              Fixed
                                              Variable



10. Is this claim based on a      No
    lease?
                                 ✔ Yes. Amount necessary to cure any default as of the date of the petition.
                                                                                                                                              0.00
                                                                                                                              $____________________


11. Is this claim subject to a   ✔ No
                                 
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




 Official Form 410                                                   Proof of Claim                                                         page 2
                     Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 36 of 66


12. Is all or part of the claim    ✔ No
                                   
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                   Up to $2* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                             Wages, salaries, or commissions (up to $12,*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/1 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                ✔
                                         I am the creditor.
 FRBP 9011(b).                    I am the creditor’s attorney or authorized agent.
 If you file this claim           I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                              Executed on date _________________
                                                           MM / DD     /   YYYY




                                  ________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   John B. McFarland
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  Attorney
                                                         _______________________________________________________________________________________________

                                  Company                 Graves Dougherty Hearon & Moody, P.C.
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                401 Congress Ave., Suite 2200
                                                         _______________________________________________________________________________________________
                                                         Number        Street

                                                          Austin                                                    TX              78701
                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          512.480.5618
                                                         _____________________________                              Email   jmcfarland@gdhm.com
                                                                                                                                 ____________________________________




 Official Form 410                                                           Proof of Claim                                                                page 3
            Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 37 of 66




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                             §
In re:                                                       §             Chapter 7
                                                             §
PRIMROSE LA SARA, LLC,                                       §             Case No. 16-30822 (DRJ)
                                                             §
            Debtor.                                          §
                                                             §


                                                      EXHIBIT A

       Claimants1 are the owners of the mineral interest in lands covered by two Oil and Gas
Leases covering lands in Willacy County, Texas. The Leases are described as follows:

        Oil and Gas Lease dated April 11, 2005, from Fausto Yturria, Jr., et al., to BLAKEnergy,
Ltd., as amended (the “Roadrunner Lease”)

      Oil and Gas Lease dated December 1, 2001, from Fausto Yturria, Jr., et al. to Swift
Energy Company, as amended (the “Crane-Mallard Lease”).

            Interests in the leasehold estates granted by these Leases may be assets of the bankruptcy
estate.

        Each of the Leases covers a separate tract of land consisting of 2,975.8 acres. The two
tracts are contiguous, and the mineral ownership in the lands is owned by the Claimants named
herein, who receive the royalties on production from wells drilled on and producing from the
Leases.

        Each of the Leases provides that, after the end of the primary term, the Lease will
terminate except for designated acreage around each well then producing on the leased premises.
However, the Leases provide that they can be maintained in effect as to all of the leased premises
beyond the primary term by “continuous drilling operations,” as more particularly defined in the
Leases.

       Primrose has filed pleadings in this bankruptcy case asserting that both of the Leases
remain in effect as to all of the lands covered thereby because “continuous drilling operations”
have been conducted on each of the Leases as required by their terms. Claimants have not
agreed, and are not required by the terms of the Leases to agree or acknowledge, that the Lessee's

1
    Claimants, including the claimant to whose proof of claim this Exhibit is attached, are listed below.


3719331.2
            Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 38 of 66




operations on the Leases are sufficient “continuous drilling operations” to maintain the Leases in
effect. The calculations necessary to determine what constitutes continuous drilling operations
are complex and require factual information concerning well drilling and completion operations
that are not available to Claimants, including calculation of “banked time.” The issues related to
continuous drilling operations and banked time are discussed in an attachment, Exhibit B, to a
pleading filed by MK Operating Company in this matter, styled “MK Operating Company,
LLC's Objections to Trustee's Application to Employ General Counsel Nunc Pro Tunc and for
Authority to Enter into Contingency Fee Agreement and Trustee's Motion for Authority to Allow
Association of Counsel” [Dkt. 93]. In that pleading, MK Operating asserts that “the next
obligatory well must commence drilling operations no later than September 29, 2016, unless
“banked days” are used to extend the deadline to October 3, 2016."

        Claimants file their proofs of claim out of an abundance of caution, to preserve their
rights under the Leases. Claimants do not have sufficient facts to determine whether the Leases
have been maintained by continuous drilling operations. Substantial issues may exist whether
prior operations claimed by Primrose to constitute continuous drilling operations were
commenced within the time required by the Leases and whether such operations constitute
“continuous drilling operations” as defined by the Leases. Claimants do not at this time contest
Primrose's or MK Operating's allegations with respect to the status of the Leases, nor do
Claimants concur with those allegations. Claimants reserve the right in the future, based on facts
to be determined, to contend that either or both of the Leases have terminated (except as to
producing wells) by cessation of continuous drilling operations.

        Filing of this Claim is not (a) a waiver or release of Claimants’ rights, claims or defenses
against any person, entity or property; (b) a waiver or release of Claimants’ right to have any and
all final orders in any and all non-core matters entered only after de novo review by a United
States District Judge; (c) consent by Claimants to jurisdiction of this Court for any purpose other
than with respect to this Claim; (d) an election of remedy; (e) a waiver or release of any rights
which Claimants may have to a jury trial; or (f) a waiver of the right to move to withdraw the
reference with respect to the subject matter of this Claim, any objection thereto or any other
proceedings which may be commenced in this case against or otherwise involving Claimants
including without limitation, any adversary proceeding that was or may be commenced by any
party or committee in this case. Claimants reserve their rights to amend or supplement their
claims against the Debtor for any reason or cause of action whatsoever.

                                       List of Claimants:
Dorothy Elizabeth Hablinski; Mary Eleanor Yturria Wilkerson; The Lillie M. Tijerina Family
Limited Partnership; VSR Royalties, Ltd.; Zarate Family, Ltd.; Garmon Enterprises III, Ltd.; JS
Family Investment Partnership, Ltd.; John Anthony Garcia Family Partnership, Ltd.; Mary B.
Mallet Royalties Partnership, Ltd.; MGB Royalty Partnership, Ltd.; The Isabel Garcia Family
Limited Partnership; M.A. Garcia Family Limited Partnership; Schulz Family Royalties
Partnership, Ltd.; William J. Thomas; Mike Neal; Maria Lee Semelsberger; Betka Mineral
Partners, Ltd.; and A-3 Minerals, L.P.


                                                 2
3719331.2
         Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 39 of 66




                                   ASSET PURCHASE AGREEMENT

1.       PARTIES: Subject to the terms stated herein, Seller agrees to sell and assign, transfer, set over
and/or convey to Buyer the Property described in Paragraph 2. Buyer agrees to buy the Property from
Seller for the sales price stated in Paragraph 3. The parties to this contract are:

          Seller: Eva S. Engelhart, Trustee of the Chapter 7 Estates of Primrose La Sara, LLC, Case No. 16-
                  30822 (the “Primrose Estate” or “Primrose Case”) and La Sara Operating Company, LLC,
                  Case No. 16-30453 (the “La Sara Estate” or “La Sara Case”) (the Primrose Estate and the
                  La Sara Estate together are referred to hereinafter as the "Bankruptcy Estates"), in the
                  United States Bankruptcy Court for the Southern District of Texas, Houston Division and
                  not in her individual capacity (“Seller”).

                  Address: 7700 San Felipe, Suite 550, Houston, Texas 77063
                  Phone:   (713) 626-1200       Fax: (713) 623-6014
                  email:   eengelhart@rossbanks.com

          Buyer: Tennyson Energy Investment Group, LLC (“Buyer” or “Stalking Horse Bidder”)

                  Address:

                  TENNYSON ENERGY INVESTMENT GROUP, LLC
                  c/o Jeff Carruth
                  WEYCER KAPLAN, PULASKI & ZUBER PC
                  3030 Matlock Rd. Suite 201
                  Arlington TX 76015
                  Phone: (713) 341-1158      Fax: (866) 666-5322
                  Email: jcarruth@wkpz.com


2.       PROPERTY: All right, title and interest of Seller in and to the following identified property
(hereafter the “Property”) free and clear of liens and claims pursuant to 11 U.S.C. §§ 363(b) and (f) pursuant
to that certain order of the Bankruptcy Court authorizing such sale of the Property to be entered in the
Primrose and La Sara Cases respectively:

      A. Any and all oil and gas leases in which Seller possess any right, claim, or interest in Willacy
         County, Texas, and/or Kennedy County, Texas and including but not limited to the 34.5% working
         interest(s) referenced and described in Schedule B (Docket No. 13) in the Primrose Case
         (collectively, the “Working Interest Assets”) and in various other pleadings filed in the Bankruptcy
         Case; save and except interests that run with the land and subject to the reservations and provisions
         contained in that certain Conveyance, Assignment and Bill of Sale from BLAKEnergy, Ltd. et al
         to Risco La Sara, LLC (“Assignment”), filed in Book 620, Page 1788, et seq of the real property
         records of the Willacy County, Texas, and the Completion Payment provided for in paragraphs 3.6
         and 3.8 of that certain Asset Purchase Agreement, referenced in the Assignment, between
         BLAKEnergy, Ltd., et al and Risco La Sara, LLC;

      B. The Working Interests Assets shall further include the following:

ASSET PURCHASE AGREEMENT — Page 1
APA   FINAL FINAL (Clean)
         Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 40 of 66




              1) the interests in any units or pooled or communitized lands arising on account of the
                 Working Interests Assets; having been unitized or pooled into such units or with such lands
                 (Seller’s interests in such units, the “Unit Interests”) (the Working Interest Assets and the
                 Unit Interests are referred to hereinafter as the “Properties”);

              2) all existing (on or after the date of this Agreement but prior to closing) wells on or
                 attributable to the Properties;

              3) all saltwater disposal leases and all saltwater disposal wells located on such saltwater
                 disposal leases contained within the Properties, and any other interest of Seller in any
                 saltwater disposal wells;

              4) the interest of the Seller in, to, and against all production facilities, structures, tubular
                 goods, well equipment, lease equipment, production equipment, pipelines, inventory, and
                 all other personal property, fixtures and facilities to the extent appurtenant to or used in
                 connection with the Properties (the “Facilities”);

              5) to the extent assignable at no cost to Seller, the interest of the Seller in, to, and against all
                 permits, licenses, servitudes, easements, rights-of-way, surface fee interests and other
                 surface use agreements to the extent used in connection with the ownership or operation of
                 the Properties or the Facilities;

              6) the hydrocarbons produced from or attributable to the Properties from and after closing and
                 all hydrocarbons produced therefrom prior to closing that are in storage prior to sale and
                 that are upstream of the sales metering point as of closing;

              7) all surface rights related to or appurtenant to the Properties; and

              8) the interest of the Seller in, to, and against any insurance claims or indemnity rights relating
                 to the Properties.

      C. Any production or payment rights associated with the Working Interest Assets whenever accrued
         not otherwise described above;

      D. The interest of Seller in the current joint operating agreement (“JOA”) covering and applicable to
         the Working Interest Assets;

      E. any books, records, or other documents related to the Properties in the possession, custody, and/or
         control of the Seller including but not limited to:

              1) the well schematics, well bore logs;

              2) all records, files, contracts, orders, agreements, permits, licenses (including all 2D and 3D
                 seismic licenses and data pertaining to the Properties), easements, maps, data, schedules,
                 reports and logs relating to the Properties;

              3) all intellectual property, including all copyrights, patents and trademarks, owned, used or
                 licensed by Seller in connection with the Properties and used or held for use exclusively in

ASSET PURCHASE AGREEMENT — Page 2
APA   FINAL FINAL (Clean)
         Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 41 of 66




                  the ownership and operation of the Properties, including, for the avoidance of doubt all
                  seismic, geological, geochemical or geophysical data owned or licensed by Seller and any
                  of Seller’s interpretations of such data, including all interpretations and analysis obtained
                  by, or on behalf of, Seller and/or any of its predecessors in title; for the avoidance of doubt,
                  this shall include any studies, interpretations or analysis performed by consultants or other
                  personnel which were made available to the seller or any of its predecessors in title.

      F. All of Seller’s interest in any equipment, machinery or tools applicable to the Working Interest
         Assets not otherwise described above; and

      G. The following claims and causes of action:

              1) All claims and causes of action specifically pled as a count in the First Amended Original
                 Complaint filed at Docket Number 21 in Adv. No. 16-3187, Engelhart et al. v. LaSara
                 Ventures 1, LLC et al., in the United States Bankruptcy Court for the Southern District of
                 Texas, Houston Division (the “Adversary Proceeding”);

              2) All claims or causes of action of the Bankruptcy Estates arising from or related to the assets
                 described in paragraphs 2 (A) through (E) above, and all claims or causes of action or
                 defenses, if any, of the Bankruptcy Estate respecting the Completion Payment asserted by
                 BLAKEnergy, Ltd., described in paragraph 9 and 22 hereof;

              3) but save and except any other claims not otherwise conveyed herein that the Trustee
                 possesses, or may discover, including, but not limited to, claims against other parties who
                 (i) are not currently defendants in the Adversary Proceeding and (ii) claims against any
                 parties therein but arising from acts and/or occurrences not expressly stated in the First
                 Amended Original Complaint. By way of example only, and not limitation, this exclusion
                 includes, but is not limited to, avoidance claims related to: (a) funds paid by NNMC, Ltd.
                 under that certain Net Profits Participation Agreement dated October 1, 2014, between
                 NNMC, Ltd, and Primrose La Sara, LLC; or (b) funds formerly on deposit with the Texas
                 Railroad Commission for the account of La Sara Operating Company, LLC.


3.       SALES PRICE: $950,000.00 (the “Sales Price”). Payment of the Sales Price and closing of the
sale of the Property are subject to the following:

      A. Stalking Horse Bid: The parties agree Buyer shall act as a Stalking Horse Bidder at an auction of
         the Property and that the Sales Price shall be the Stalking Horse Bid in that auction. If Buyer is
         the Successful Bidder, or the Backup Successful Bidder, at the auction, the sale provided for herein
         shall close according to the terms stated herein.

      B. Breakup Fee: In the event that Buyer is not the Successful Bidder, or the Backup Successful
         Bidder, that closes on the sale of the Property, this agreement shall terminate and Seller shall pay
         to Buyer a breakup fee of $60,000.00. The breakup fee shall be paid no later than the tenth (10th)
         business day after the sale of the Property closes and the funds paid to Seller have cleared Seller’s
         bank account.



ASSET PURCHASE AGREEMENT — Page 3
APA   FINAL FINAL (Clean)
         Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 42 of 66




      C. Allocation of Sales Price: The Sales Price is for the entirety of the Property, with no proration;
         provided, however, Buyer may internally prorate the Sales Price for accounting purposes.

4.        EARNEST MONEY:

      A. Concurrent with the execution of this contract and provision thereof to the Seller, Buyer shall
         deposit with Seller $1,000.00 as earnest money, which will be applied to the Sales Price at closing.
         The earnest money shall be paid by cashier’s check made payable to Eva. S. Engelhart, Trustee, or
         wire transfer. If Buyer is not the Successful Bidder or Backup Successful Bidder that closes on
         the sale of the Property, all earnest money will be returned to Buyer within seven (7) days after
         closing by the Successful Bidder without offset of any kind and in addition to the payment of the
         “breakup fee” provided for herein. However, if Buyer withdraws from this agreement for any
         reason prior to the auction, all earnest money will be forfeited.

      B. If Buyer fails to deposit the earnest money as required by this contract, then this contract will
         immediately terminate and be of no further force and effect.

5.        PROPERTY CONDITION AND OPPORTUNITY TO INSPECT:

      A. SELLER MAKES NO REPRESENTATION, WARRANTY, STATEMENT, OR OTHER
         ASSERTION, EXPRESS OR IMPLIED, WITH RESPECT TO THE PROPERTY TO BE SOLD,
         IT’S MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE.

      B. Buyer will take the Property AS IS, WHERE IS, with any and all latent and patent defects. Buyer
         shall be fully responsible for making its own evaluation and determination as to any aspect of the
         Property. Buyer acknowledges that, having been given the opportunity to inspect and evaluate the
         Property, said Purchaser will be relying solely on said Purchaser’s own investigation and not on
         any information provided by Seller.

      C. INSPECTION: Buyer shall have the right of inspection of the Property as Ordered by the
         Bankruptcy Court in the Order setting the auction of the Property (the “Inspection Period”). Buyer
         shall have the right to withdraw this offer at any time during the Inspection Period, but not
         thereafter.

6.      CLOSING: The closing of the sale will be no earlier than 10:00 AM central time on the fifth (5th)
business day following the close of the auction of the Property, whenever set by the Court, unless the parties
agree in writing to do it sooner (the "Closing Date"). If either party fails to close by the Closing Date, the
non-defaulting party may exercise the remedies for in this agreement.

      A. At closing, Seller will execute and deliver, at Seller's expense, all conveyance and assignment
         related documents required to consummate this agreement in a form acceptable to the parties.

      B. At closing, Buyer will pay the Sales Price in good funds acceptable to the Seller, unless previously
         paid in full.




ASSET PURCHASE AGREEMENT — Page 4
APA   FINAL FINAL (Clean)
         Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 43 of 66




7.        DEFAULT:

      A. If Buyer fails to comply with this Contract, Buyer is in default and Seller may elect to do any or all
         of the following or a combination thereof:

               i. retain the earnest money as damages for Buyer’s breach; sell the Property to another buyer,
                  and sue for any and all other damages that may result from Buyer’s breach;
              ii. retain the earnest money and terminate the Contract with Buyer;
             iii. seek to enforce specific performance; or seek other relief as may be provided by law.

      B. If Seller fails to comply with this Contract, Seller is in default and Buyer may as its sole and
         exclusive remedy, either:

               i. terminate this Contract and receive the earnest money as liquidated damages, thereby
                  releasing the parties from this Contract; or
              ii. enforce specific performance only.

      C. All rights and remedies of Seller under this Paragraph will be cumulative, and none will exclude
         any other right or remedy provided by law or by any other provision of this Contract. All rights
         and remedies of Seller may be exercised and enforced concurrently and whenever, and as often, as
         occasion for their exercise arises.

8.      ATTORNEY'S FEES: If Buyer or Seller is a prevailing party in any legal proceeding brought
under or with relation to this Contract or this transaction, such party is entitled to recover from the non-
prevailing party all costs of such proceeding and reasonable attorneys' fees. This Paragraph survives
termination of this Contract.

9.        AGREEMENT OF THE PARTIES:

      A. This Contract contains the entire agreement of the parties and may not be changed except in writing.
         In the event any covenant, condition or provision herein contained is held to be invalid by final
         judgment of any Court of competent jurisdiction, the invalidity of such covenant, condition or
         provision shall not in any way affect any other covenant, condition or provision herein contained,
         which shall continue in full force and effect.

      B. If this Contract is executed in a number of identical counterparts, each counterpart is an original
         and all counterparts, collectively, constitute one agreement.

      C. Buyer may not assign this Contract.

      D. Jurisdiction regarding any disputes regarding this agreement shall be exclusively in the United
         States Bankruptcy Court and case in which Seller serves as Chapter 7 Trustee.

      E. All obligations of the parties created hereunder are performable in Harris County, Texas. In case
         any one or more of the provisions contained in this Contract shall for any reason be held to be
         invalid, illegal, and unenforceable in any respect, such invalidity, illegality, or unenforceability
         shall not affect any other provision hereof, and this Contract shall be construed as if such invalid,

ASSET PURCHASE AGREEMENT — Page 5
APA   FINAL FINAL (Clean)
           Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 44 of 66




           illegal, or unenforceable provision had never been contained herein. This Contract constitutes the
           sole and only agreement of the parties hereto and supersedes any prior understandings or written
           or oral agreements between the parties respecting the within subject matter and cannot be changed
           except by their written consent. Words of any gender used in this Contract shall be held and
           construed to include any other gender, and words in the singular number shall be held to include
           the plural, and vice versa, unless the context requires otherwise.

      F. As part of the sale of the Property, Seller shall assume and assign to Buyer all of its right, title and
         interest in the JOA.

      G. Buyer will assume all obligations associated with the Property and the JOA liabilities on and after
         the Closing Date. Purchaser will not assume any obligations associated with the Property and the
         JOA liabilities that existed or accrued prior to the Closing Date.

      H. To any extent necessary under applicable law in order to maintain any of the claims to be assigned
         described in Paragraph 2(f) above (“Litigation Assets”), and at the discretion of the Buyer, the
         Seller shall remain a party with respect to the prosecution of any of the Litigation Assets. The
         Litigation Assets and/or the value of the Litigation Assets shall be conveyed in a manner as to
         maintain standing or any other rights that are necessary to preserve and prosecute the Litigation
         Assets for the use and benefit of the Buyer and/or to maintain standing in the Bankruptcy Court;
         and if necessary in order to preserve venue, jurisdiction, and the ability to enter final orders in the
         Bankruptcy Court, the assignment of the claims and causes of action and the Adversary Proceeding
         reference and described in Section 2 above shall be only an assignment of the proceeds, remedies,
         and recovery of same, and Seller agrees to amend and/or supplement this Agreement and/or execute
         such other and further documents as may be necessary to effectuate the intentions of this Paragraph
         H.

      I.   Promptly after closing, Seller will provide to Purchaser any books, records, or other documents
           related to the Subject Assets that are in the possession, custody, and/or control of the Seller,
           including the products of the Seller’s investigation and/or diligence and/or discovery products
           obtained through and until the Effective Date. Seller will also direct counsel to provide to Purchaser
           any attorney work product related to the Subject Assets.


10.        This agreement is subject to bankruptcy court approval.

11.        Time is of the essence.




                                     {remainder of page intentionally blank}




ASSET PURCHASE AGREEMENT — Page 6
APA   FINAL FINAL (Clean)
         Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 45 of 66




Buyer:


By: ______________________________
    ______________, __________ of
    Tennyson Energy Investment Group, LLC

Title: _____________

Date: _____________




                                 {continued on following page}




ASSET PURCHASE AGREEMENT — Page 7
APA   FINAL FINAL (Clean)
          Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 46 of 66




Seller:

By: ______________________________

Eva S. Engelhart, Trustee and not individually

Date: _____________




ASSET PURCHASE AGREEMENT — Page 8
APA   FINAL FINAL (Clean)
            Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 47 of 66



                                           BID PROCEDURES

1. Property to be Sold

    All right, title and interest of Seller in and to the following (hereafter the “Property”) free and clear of
liens and claims pursuant to 11 U.S.C. §§ 363(b) and (f) pursuant to that certain Court Order entered on
______________ at Docket Numbers ____ and ____ in the Primrose and La Sara Cases respectively:

      A. Any and all oil and gas leases in which Seller possess any right, claim, or interest in Willacy
         County, Texas, and/or Kennedy County, Texas and including but not limited to the 34.5% working
         interest(s) referenced and described in Schedule B (Docket No. 13) in the Primrose Case
         (collectively, the “Working Interest Assets”) and in various other pleadings filed in the Bankruptcy
         Case;

      B. Any production or payment rights associated with the Working Interest Assets whenever accrued;

      C. The interest of Seller in the current joint operating agreement (“JOA”) covering and applicable to
         the Working Interest Assets;

      D. Copies of any books, records, or other documents related to the Working Interest Assets in the
         possession, custody, and/or control of the Seller including but not limited to the well schematics
         and well bore logs;

      E. All of Seller’s interest in any equipment, machinery or tools applicable to the Working Interest
         Assets;

      F. All claims and causes of action specifically pled as a count in the First Amended Original
         Complaint filed at Docket Number 21 in Adv. No. 16-3187, Engelhart et al. v. LaSara Ventures 1,
         LLC et al., in the United States Bankruptcy Court for the Southern District of Texas, Houston
         Division (the “Adversary Proceeding”), save an except any other claims the Trustee has, or may
         discover, including, but not limited to, claims against other parties who are not currently defendants
         in the Adversary Proceeding and claims against any parties therein but not stated therein. By way
         of example only, and not limitation, this exclusion includes, but not limited to, claims related to:
         (a) funds paid by NNMC, Ltd. under that certain Net Profits Participation Agreement dated October
         1, 2014, between NNMC, Ltd, and Primrose La Sara, LLC; or (b) funds formerly on deposit with
         the Texas Railroad Commission for the account of La Sara Operating Company, LLC.

2. Due Diligence

       Bidders will be given access to a virtual data room to view the oil and gas leases applicable
to the assets being sold; any pending authorization for expenditure for proposed pending
operations; lease files; division orders (if any); well files, production history and what seismic
information is available. Bidders desiring to access this information will be required to execute a
confidentiality agreement in the form attached as Exhibit 1, hereto.

       Bidders will have the opportunity to physically inspect the land, and all operations thereon,
applicable to the assets being sold at the dates and times set in the Order approving these Bid


Bid Procedures - Final                                 1
            Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 48 of 66



Procedures. Bidders desiring to access the property will be required to execute the release and
indemnity agreement in the form attached as Exhibit 2, hereto.

3. Stalking Horse Bidder and Stalking Horse Bid

        Tennyson Energy Investment Group, LLC has agreed to act as the “Stalking Horse Bidder”
with regard to the sale of the Property and has submitted a bid of $950,000.00 for the Property. If
the Stalking Horse Bid is not the bid accepted and closed by the Trustee, and the Property is sold
to another bidder, then the Stalking Horse Bidder is entitled to a breakup fee of $60,000 from the
Estate to be paid at closing of such sale without the necessity of further order of the Court.

4. Qualified Bid and Qualified Bidder

       In order for a Bid to be qualified, the bidder Trustee must receive, no later than three (3)
business days prior to the date of the auction set by the Court, the following:

            (a) a signed and executed offer in substantially the same form as Exhibit 3 attached hereto
            containing no contingencies and setting forth consideration of an amount no less than
            $60,001,00 in excess of the Stalking Horse Bid.

            (b) an earnest money deposit in the amount of $1,000.00 by way of cashier’s check payable
            to Eva S. Engelhart, Trustee, only; and

            (c) proof of financial ability to close the transaction.

A Qualified Bidder is one who submits a Qualified Bid.                 The Stalking Horse bidder is
automatically a Qualified Bidder.

5. Notice Procedures

        After entry of an Order approving the Trustee’s Motion to Auction to which these Bid
Procedures are made a part of, the Trustee shall serve notice of the pending auction, and these bid
procedures, to any and all persons or entities whom she, in her sole discretion, believes may be
interested in making a Qualified Bid.

6. Auction and Sale

        If the Trustee receives a Qualified Bid, in addition to the Stalking Horse Bid, the Trustee
will conduct the Auction to determine the Successful Bidder(s) with respect to the Property. If the
Trustee does not receive any Qualified Bids other than the Stalking Horse Bid, the Stalking Horse
Bid will be accepted and closed. The Auction shall take place at 10:00 a.m. (CST) on the 29th
day of November 2016, at the offices of the Trustee at 7700 San Felipe, Suite 550, Houston, Texas
77063 (the “Auction”). The Auction shall be conducted in a timely fashion according to the
following procedures:


Bid Procedures - Final                                 2
            Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 49 of 66



            (a) The Trustee Shall Conduct the Auction.

            The Trustee and its professionals shall direct and preside over the Auction. At the start of
            the Auction, the Stalking Horse Bid shall be considered the first bid. All incremental Bids
            made thereafter shall first be a Minimum Overbid and then any Overbids thereafter (both
            terms defined herein) and shall be made and received on an open basis, and all material
            terms of each Overbid shall be fully disclosed to all other Qualified Bidders. The Trustee
            shall maintain a written transcript of all Bids made and announced at the Auction, including
            the Stalking Horse Bid, the Minimum Overbid, all Overbids, and the Successful Bid(s).
            In order to participate in the Auction, each prospective purchaser must be a Qualified
            Bidder. Each Qualified Bidder must have at least one individual representative with
            authority to bind the Qualified Bidder attend the Auction in person. Only Qualified Bidders
            and their legal and financial advisors shall be entitled to attend and/or bid at the Auction.
            The Trustee, in her sole discretion, may allow any Qualified Bidder, including the Stalking
            Horse Bidder, to attend and participate in the auction telephonically or by other electronic
            means.

            (b) Auction Procedures.

            A Qualified Bidder wishing to submit a bid higher than the Stalking Horse Bid must bid
            an amount equal to or greater than the total consideration contained in the Stalking Horse
            Bidder’s Qualifying Bid plus the amount of the Breakup Fee plus $1.00 (the “Minimum
            Overbid”). Subject to the Minimum Overbid, Qualified Bidders shall submit successive
            Overbids in increments of no less than $10,000.00 (each an “Overbid”). Overbids must
            be in US Dollars only, no other form of consideration will be allowed for an Overbid.

            (d) Closing the Auction.

                         (i) The Auction shall continue until there is only one offer that the Trustee
                         determines is the highest and/or best offer for the purchase of the Property (each a
                         “Successful Bid” and such Bidder, the “Successful Bidder”), at which point, the
                         Auction will be closed. The Auction shall not close unless and until all Qualified
                         Bidders have been given a reasonable opportunity to submit an Overbid at the
                         Auction to the then existing Overbid(s). The second highest Bid for such assets
                         shall be deemed to be the “Backup Successful Bid” and such Bidder, the “Backup
                         Successful Bidder.”

                         (ii) The identity of the Backup Successful Bidder(s) and the amount and material
                         terms of the Backup Successful Bid(s) shall be announced by the Trustee at the
                         conclusion of the Auction at the same time the Trustee announces the identity of
                         the Successful Bidder(s). The Backup Bidder(s) shall be required to keep its or their
                         Qualified Bid(s) (or if the Backup Bidder(s) submitted one or more Overbids at the
                         Auction, its final Overbid(s)) open and irrevocable until the closing of the
                         transaction with the Successful Bidder(s).


Bid Procedures - Final                                     3
            Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 50 of 66



                         (iii) For the avoidance of doubt, nothing in these Bidding Procedures shall prevent
                         the Trustee from exercising her fiduciary duties under applicable law.

                         (iv) The Trustee shall not consider any Bids or Overbids submitted after the
                         conclusion of the Auction and any and all such Bids and Overbids shall be deemed
                         untimely and shall under no circumstances constitute a Qualified Bid.

            (e) No Collusion; Good Faith Bona Fide Offer.

            Each Qualified Bidder participating at the Auction will be required to confirm on the record
            that: (i) it has not engaged in any collusion with respect to the bidding; and (ii) its Qualified
            Bid is a good faith bona fide offer and it intends to consummate the proposed transaction
            if selected as the Successful Bidder.

            (f) Closing the Sale

            The Trustee shall be available to promptly close with the Sale following the conclusion of
            the auction.

7. Backup Successful Bidder

        If a Successful Bidder fails to consummate an approved transaction contemplated by its
Successful Bid, the Trustee may select the applicable Backup Successful Bidder as the Successful
Bidder, and such Backup Successful Bidder shall be deemed a Successful Bidder for all purposes.
The Trustee will be authorized, but not required, to consummate all transactions contemplated by
the Bid of such Backup Successful Bidder without further order of the Court or notice to any party.
In such case, the defaulting Successful Bidder’s Good Faith Deposit shall be forfeited to the
Trustee, and the Trustee specifically reserves the right to seek all available remedies against the
defaulting Successful Bidder (or Backup Successful Bidder, if such party shall also breach or fail
to perform), as applicable, including with respect to specific performance.

8. Consent to Jurisdiction

       All Qualified Bidders at the Auction shall be deemed to have consented to the jurisdiction
and venue of the United States Bankruptcy Court for the Southern District of Texas, Houston
Division and waived any right to a jury trial in connection with any disputes relating to the Auction,
the construction and enforcement of these Bidding Procedures, and/or the Confidentiality
Agreements, as applicable.

9. No Requirement for Sale Hearing

        Upon approval of this Bid Procedures by the Bankruptcy Court, no sale approval hearing
will be required in order to close the Successful Bid, or any Backup Successful Bid.

10. Return of Good Faith Deposits

Bid Procedures - Final                                    4
            Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 51 of 66




       Earnest money deposited by the Successful Bidder, and any Backup Successful Bid, shall
be applied to its Successful Bid at closing. Until closing of the Successful Bid, or any Backup
Successful Bid as the case may be, the earnest money deposit of the Successful Bidder and any
Backup Successful Bidder shall be retained by the Trustee. After closing, the earnest money of
any Backup Successful Bidder whose Backup Successful Bid is not closed upon, shall be returned
by the Trustee to the Backup Successful Bidder within thirty (30) days. All Earnest Money shall
be held in the Trustee’s trust account and shall not be entitled to interest.




Bid Procedures - Final                        5
      Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 52 of 66



                       CONFIDENTIALITY AGREEMENT
                            La Sara Field
                            Harris County, Texas

THIS AGREEMENT, entered into this the_______ day of __________ 2016, by and between
MK Operating Company, LLC, (Discloser), and ___________________________
(“Reviewer/Consultant”).

1.    In connection with the evaluation and the possible participation by the
      Reviewer/Consultant in operations within the La Sara Field (hereinafter referred to as the
      "Prospect"), the Discloser is willing, in accordance with the terms and conditions of this
      Agreement, to disclose to the Reviewer/Consultant certain information which Discloser
      claims to be proprietary and/or confidential, relating to the Prospect consisting of
      geological, geophysical, engineering and land data, maps, and interpretations (hereinafter
      referred to as the "Confidential Information").
2.    In consideration of the disclosure referred to in paragraph 1 hereof, the
      Reviewer/Consultant agrees not to disclose the Confidential Information in any manner
      whatsoever, including by means of photocopy or reproduction, without the Discloser's
      prior written consent, except as provided in paragraphs 3 and 4 below.
3.    The Reviewer/Consultant may disclose the Confidential Information without the
      Discloser's prior written consent only to the extent such Confidential Information:
      (a)    is or becomes part of the public domain through no fault of the
             Reviewer/Consultant;
      (b)    was in the Reviewer/Consultant's possession prior to the time it was acquired
             hereunder; or
      (c)    is or was acquired independently from a third party that represents that it has the
             right to disseminate such Confidential Information.
4.    The Reviewer/Consultant shall be entitled to disclose the Confidential Information
      without the Discloser's prior written consent to each of the following persons
      ("Reviewer/Consultant Representatives") who have a clear need to know in order to
      evaluate the Prospect:
      (a)    employees, officers and directors of the Reviewer/Consultant;
      (b)    any affiliate of Reviewer/Consultant. As used herein, "affiliate" means, with
             respect to any person or entity, any other person or entity that, directly or
             indirectly, through one or more intermediaries controls, is controlled by, or is
             under common control with, such person or entity. The term "control," as used in
             the immediately preceding sentence, means, with respect to a corporation, the
             right to exercise, directly or indirectly, fifty percent (50%) or more of the voting
             rights attributable to the shares of the controlled corporation or, with respect to a
             person or entity other than a corporation, the possession, directly or indirectly, of
             the power to direct or cause the direction of the management or policies of the
             controlled person or entity;
      (c)    any consultant or agent retained by the Reviewer/Consultant for the purpose of
             evaluating the Confidential Information; or
       Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 53 of 66



       (d)     any bank financing Reviewer/Consultant's participation in the Prospect, including
               any consultant retained by such bank for the purpose of evaluating the
               Confidential Information.
Prior to making any such disclosures to persons under subparagraphs (c) and (d) above, however,
the Reviewer/Consultant shall obtain from each such person an under taking confidentiality
containing the same obligations of confidentiality as contained in this Agreement.

5.     The Reviewer/Consultant shall only use or permit the use of the Confidential Information
       to evaluate the Prospect and determine whether to enter into negotiations concerning
       participation in, or further evaluation of, the Prospect; provided, however, that the
       Reviewer/Consultant may use its own mental impressions, if any, of the Confidential
       Information in acquiring, developing and evaluating exploration opportunities, interests
       or properties outside the Prospect.
6.     The Reviewer/Consultant agrees to take such action as necessary to see that all persons to
       whom the Confidential Information is disclosed under this Agreement shall not disclose
       the Confidential Information to any unauthorized person.
7.     The Confidential Information shall remain the property of the Discloser, and the
       Discloser may demand the return thereof at any time upon giving written notice to the
       Reviewer/Consultant. Within fifteen (15) days of receipt of such notice, the
       Reviewer/Consultant shall return all of the original Confidential Information and shall
       destroy all copies, reproductions, notes and maps (both written and electronic)
       concerning the Prospect in its possession and in the possession of persons to whom it was
       provided hereunder.
8.     If the Reviewer/Consultant participates in the Prospect, then this Agreement shall
       terminate automatically on the date the Reviewer/Consultant enters into a definitive
       agreement with Discloser relating to the exploration and development of the Prospect,
       which contains provisions covering the confidentiality of data in the Prospect. If
       Discloser and Reviewer/Consultant do not enter into a definitive agreement regarding the
       exploration and development of the Prospect, it is agreed that, for a period of one (1)
       year from the date hereof, Reviewer/Consultant (including its affiliates and subsidiaries)
       will not directly or indirectly acquire any interest in the lands or leases located within the
       Prospect or any option applicable thereto, without the prior written consent of Discloser.
9.     Reviewer/Consultant shall be solely responsible for any actions which it takes, or advises
       others to take, in reliance on the Confidential Information furnished by Discloser.
       REVIEWER/CONSULTANT                      OR              REVIEWER/CONSULTANT'S
       REPRESENTATIVES AND OTHER PERSONS OR PARTIES ACTING UNDER OR
       THROUGH REVIEWER/CONSULTANT RELEASE DISCLOSER, ITS PARENT
       CORPORTION, ITS SUBSIDIARIES OR AFFILIATES, OR ANY OF THEIR
       EMPLOYEES, AGENTS OR REPRESENTATIVES ("DISCLOSER PARTIES")
       FROM ANY LIABILITY WHATSOEVER RESULTING FROM THE SELECTION,
       USE OR RELIANCE ON THE CONFIDENTIAL INFORMATION BY
       REVIEWER/CONSULTANT              OR     ANY       OF     REVIEWER/CONSULTANT'S
       REPRESENTATIVES OR SUCH OTHER PERSONS OR PARTIES ACTING BY OR
       THROUGH REVIEWER/CONSULTANT (INCLUDING, WITHOUT LIMITATION,
       SUCH      SELECTION        OR      USE     AS      REVIEWER/CONSULTANT                OR
       REVIEWER/CONSULTANT'S REPRESENTATIVES MAY DEEM NECESSARY IN
       ORDER TO PARTICIPATE IN THE PROSPECT).

10.    Discloser represents and warrants that it has the right to disclose the Confidential
       Information under the terms and conditions of this Agreement without violating the legal

                                            Page 2 of 5
 
      Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 54 of 66



      rights of, or its contractual obligations to, any third party. REVIEWER/CONSULTANT
      UNDERSTANDS THAT DISCLOSER MAKES NO OTHER EXPRESS WARRANTY,
      AND DISCLAIMS ALL IMPLIED WARRANTIES, WITH RESPECT TO THE
      CONFIDENTIAL INFORMATION OR THE SUBJECT MATTER OF THIS
      AGREEMENT, INCLUDING, WITHOUT LIMITATION, ANY WARRANTIES AS
      TO (i) THE QUALITY, ACCURACY OR COMPLETENESS OF THE
      CONFIDENTIAL INFORMATION, (ii) THE PRESENCE OF HYDROCARBONS
      WITHIN THE PROPERTIES OR (iii), THE RESULTS WHICH MIGHT BE
      EXPECTED FROM ANY EXPLORATION, DEVELOPMENT, PRODUCTION
      AND/OR HYDROCARBON MARKETING ACTIVITIES INVOLVING THE
      PROPERTIES. NOTHING CONTAINED IN THE CONFIDENTIAL INFORMATION
      IS OR SHALL BE RELIED UPON AS A PROMISE, REPRESENTATION OR
      WARRANTY, WHETHER AS TO THE PAST, PRESENT OR FUTURE
      PRODUCTION OR PRODUCTION POTENTIAL INVOLVING THE PROPERTIES.
11.   THIS AGREEMENT SHALL BE GOVERNED BY AND INTERPRETED IN
      ACCORDANCE WITH THE LAWS OF THE STATE OF TEXAS, EXCLUSIVE OF
      ANY CONFLICT OF LAW PRINCIPLES WHICH WOULD DIRECT THE
      APPLICATION OF THE LAWS OF A DIFFERENT STATE OR OTHER
      JURISDICTION.
12.   No subsequent amendments, changes or modifications to this Agreement shall be valid
      unless they are in writing and signed by a duly authorized representative of each of the
      parties hereto.
13.   This Agreement comprises the full and complete agreement of the parties hereto with
      respect to the disclosure of the Confidential Information and supersedes and cancels all
      prior communications, understandings and agreements between the parties hereto,
      whether written or oral, expressed or implied.
14.   Neither party shall be liable in an action initiated by one against the other for any special,
      indirect, punitive or consequential damages resulting from or arising out of this
      Agreement or any breach thereof. Further, there shall be no third party beneficiaries to
      this Agreement.
15.   Notwithstanding anything to the contrary contained herein, Reviewer/Consultant may
      disclose the Confidential Information, and provide copies thereof, to agencies of federal,
      state and local governments to the extent required by applicable, final, non-appleable,
      order, law, rule or regulation, and may disclose Confidential Information pursuant to
      valid, compulsory and final legal process, provided that Reviewer/Consultant shall (i)
      promptly advise Discloser of each requirement, request, demand, or order for the
      Confidential Information, (ii) make or, at Discloser's option, allow Discloser to make
      reasonable objections as permitted by applicable laws, rules and regulations to such
      disclosures, (iii) take reasonable measures to ensure the confidential treatment of the
      Confidential Information which must be disclosed, and (iv) disclose only that portion of
      the Confidential Information which it is legally obligated to disclose. In matters covered
      by this provision, Reviewer/Consultant shall be entitled to rely on the written advice of
      its legal counsel.
16.   The Confidential Information may include Discloser proprietary information ("Discloser
      Information") and information licensed by Discloser from third parties ("Speculative
      Information"). Subject to the provisions of paragraph 8, this Agreement and all
      obligations arising herefrom shall terminate one (1) year after the date first above written
      as to Discloser Information. As to Speculative Information, this Agreement shall continue
      for the time periods specified in the relevant license agreement(s) between Discloser and
      licensor(s) existing as of the effective date hereof, to the extent that such license


                                           Page 3 of 5
 
      Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 55 of 66



      agreements restrict Discloser thereunder and if such time periods are clearly shown on or
      reflected in the Speculative Information.
17.   The rights and obligations under this Agreement may not be assigned by either party
      without the express written consent of the other party, but so assigned, it shall be binding
      on the heirs, successors and assigns.




                    (The remainder of this page intentionally left blank)
 




                                          Page 4 of 5
 
      Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 56 of 66




IN WITNESS WHEREOF, the duly authorized representative of each party has caused this
Agreement to be executed and made effective as of the date first above-written.




DISCLOSER                                     REVIEWER/CONSULTANT


MK Operating Company, LLC                     Company Name:_________________


By: __________________________                By:____________________________

Print Name: ____________________              Print Name:_____________________

Title: _________________________              Title:___________________________




                                     Page 5 of 5
 
       Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 57 of 66



                          MK Operating Company, LLC
                           Two Riverway, Suite 1700
                            Houston, Texas 77056
                                713-728-6315
                              713-583-0965 Fax

_________________, 2016

VIA EMAIL:
Name
Company
Address
City, State Zip
Re:    Permission for Access to MK Operating Company, LLC properties in Willacy County,
       Texas.
Dear ________:
          MK Operating Company, LLC (“MK”) hereby grants you and your company’s
representatives permission to perform field inspections of our operated wells (hereinafter
referred to as the “Properties”) located in Willacy County, Texas. Field inspections will be
conducted only on specified dates and times with a representative of MK present at all times.
Said field inspections will be only for those operated wells located on the Crane/Mallard Lease
dated December 1, 2001, from Fausto Yturria, Jr., et al, to Swift Energy Company and covering
2,975.8 acres, more or less, situated in the “San Juan De Carricitos” Jose Narcisco Cabazos
Grant, A-8, Willacy County, Texas, and the RoadRunner Lease dated April 11, 2001, from
Fausto Yturria, Jr. et al to BLAKEnergy, Ltd., as amended, and covering 2,975.8 acres, more or
less, situated in the “San Juan De Carricitos” Jose Narcisco Cabazos Grant, A-8, and the “Las
Mestenas Petitas Y La Abra” Vincent Hinojosa Survey, A-4 and Willacy County, Texas. It is
agreed and understood that you and/or your company’s representatives shall access the
Properties at your sole risk and shall fully release MK, its employees and subcontractors from
any harm you and/or your company’s representatives may suffer while on the Properties
pursuant to this agreement. This release of liability is intended to operate and be applicable even
if it is alleged or proved that all or some of the damages being sought were caused in whole or in
part by any act, omission, negligence, gross negligence, breach of contract, intentional conduct,
violations of statute or common law, breach of warranty, product defect, strict liability or any
other conduct whatsoever of MK.
Furthermore, you agree to execute the attached confidentiality agreement and be bound by such
agreement.
You can contact the undersigned at the above numbers with any questions or comments
regarding this matter.
       Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 58 of 66
Date 
Permission to Access La Sara Field 
Page 2 


Regards,
MK Operating Company, LLC



Julian Ayala
Land Manager



Agreed:


____________________________
Name
Company



____________________________
Name
Company
          Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 59 of 66




                                     ASSET PURCHASE AGREEMENT

1.       PARTIES: Subject to the terms stated herein, Seller agrees to sell and assign, transfer, set over
and/or convey to Buyer the Property described in Paragraph 2. Buyer agrees to buy the Property from
Seller for the sales price stated in Paragraph 3. The parties to this contract are:

          Seller: Eva S. Engelhart, Trustee of the Chapter 7 Estates of Primrose La Sara, LLC, Case No. 16-
                  30822 (the “Primrose Estate” or “Primrose Case”) and La Sara Operating Company, LLC,
                  Case No. 16-30453 (the “La Sara Estate” or “La Sara Case”) (the Primrose Estate and the
                  La Sara Estate together are referred to hereinafter as the "Bankruptcy Estates"), in the
                  United States Bankruptcy Court for the Southern District of Texas, Houston Division and
                  not in her individual capacity (“Seller”).

                   Address: 7700 San Felipe, Suite 550, Houston, Texas 77063
                   Phone:   (713) 626-1200       Fax: (713) 623-6014
                   email:   eengelhart@rossbanks.com

          Buyer:

                   Address:

                   Phone:      (___) ___-____      Fax:     (___) ___-____
                   email:


2.       PROPERTY: All right, title and interest of Seller in and to the following identified property
(hereafter the “Property”) free and clear of liens and claims pursuant to 11 U.S.C. §§ 363(b) and (f) pursuant
to that certain order of the Bankruptcy Court authorizing such sale of the Property to be entered in the
Primrose and La Sara Cases respectively:

      A. Any and all oil and gas leases in which Seller possess any right, claim, or interest in Willacy
         County, Texas, and/or Kennedy County, Texas and including but not limited to the 34.5% working
         interest(s) referenced and described in Schedule B (Docket No. 13) in the Primrose Case
         (collectively, the “Working Interest Assets”) and in various other pleadings filed in the Bankruptcy
         Case; save and except interests that run with the land and subject to the reservations and provisions
         contained in that certain Conveyance, Assignment and Bill of Sale from BLAKEnergy, Ltd. et al
         to Risco La Sara, LLC (“Assignment”), filed in Book 620, Page 1788, et seq of the real property
         records of the Willacy County, Texas, and the Completion Payment provided for in paragraphs 3.6
         and 3.8 of that certain Asset Purchase Agreement, referenced in the Assignment, between
         BLAKEnergy, Ltd., et al and Risco La Sara, LLC;

      B. The Working Interests Assets shall further include the following:

              1) the interests in any units or pooled or communitized lands arising on account of the
                 Working Interests Assets; having been unitized or pooled into such units or with such lands
                 (Seller’s interests in such units, the “Unit Interests”) (the Working Interest Assets and the
                 Unit Interests are referred to hereinafter as the “Properties”);

ASSET PURCHASE AGREEMENT — Page 1
APA   - Non-Stalking Horse Version
          Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 60 of 66




              2) all existing (on or after the date of this Agreement but prior to closing) wells on or
                 attributable to the Properties;

              3) all saltwater disposal leases and all saltwater disposal wells located on such saltwater
                 disposal leases contained within the Properties, and any other interest of Seller in any
                 saltwater disposal wells;

              4) the interest of the Seller in, to, and against all production facilities, structures, tubular
                 goods, well equipment, lease equipment, production equipment, pipelines, inventory, and
                 all other personal property, fixtures and facilities to the extent appurtenant to or used in
                 connection with the Properties (the “Facilities”);

              5) to the extent assignable at no cost to Seller, the interest of the Seller in, to, and against all
                 permits, licenses, servitudes, easements, rights-of-way, surface fee interests and other
                 surface use agreements to the extent used in connection with the ownership or operation of
                 the Properties or the Facilities;

              6) the hydrocarbons produced from or attributable to the Properties from and after closing and
                 all hydrocarbons produced therefrom prior to closing that are in storage prior to sale and
                 that are upstream of the sales metering point as of closing;

              7) all surface rights related to or appurtenant to the Properties; and

              8) the interest of the Seller in, to, and against any insurance claims or indemnity rights relating
                 to the Properties.

      C. Any production or payment rights associated with the Working Interest Assets whenever accrued
         not otherwise described above;

      D. The interest of Seller in the current joint operating agreement (“JOA”) covering and applicable to
         the Working Interest Assets;

      E. any books, records, or other documents related to the Properties in the possession, custody, and/or
         control of the Seller including but not limited to:

              1) the well schematics, well bore logs;

              2) all records, files, contracts, orders, agreements, permits, licenses (including all 2D and 3D
                 seismic licenses and data pertaining to the Properties), easements, maps, data, schedules,
                 reports and logs relating to the Properties;

              3) all intellectual property, including all copyrights, patents and trademarks, owned, used or
                 licensed by Seller in connection with the Properties and used or held for use exclusively in
                 the ownership and operation of the Properties, including, for the avoidance of doubt all
                 seismic, geological, geochemical or geophysical data owned or licensed by Seller and any
                 of Seller’s interpretations of such data, including all interpretations and analysis obtained
                 by, or on behalf of, Seller and/or any of its predecessors in title; for the avoidance of doubt,


ASSET PURCHASE AGREEMENT — Page 2
APA   - Non-Stalking Horse Version
          Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 61 of 66




                  this shall include any studies, interpretations or analysis performed by consultants or other
                  personnel which were made available to the seller or any of its predecessors in title.

      F. All of Seller’s interest in any equipment, machinery or tools applicable to the Working Interest
         Assets not otherwise described above; and

      G. The following claims and causes of action:

              1) All claims and causes of action specifically pled as a count in the First Amended Original
                 Complaint filed at Docket Number 21 in Adv. No. 16-3187, Engelhart et al. v. LaSara
                 Ventures 1, LLC et al., in the United States Bankruptcy Court for the Southern District of
                 Texas, Houston Division (the “Adversary Proceeding”);

              2) All claims or causes of action of the Bankruptcy Estates arising from or related to the assets
                 described in paragraphs 2 (A) through (E) above, and all claims or causes of action or
                 defenses, if any, of the Bankruptcy Estate respecting the Completion Payment asserted by
                 BLAKEnergy, Ltd., described in paragraph 9 and 22 hereof;

              3) but save and except any other claims not otherwise conveyed herein that the Trustee
                 possesses, or may discover, including, but not limited to, claims against other parties who
                 (i) are not currently defendants in the Adversary Proceeding and (ii) claims against any
                 parties therein but arising from acts and/or occurrences not expressly stated in the First
                 Amended Original Complaint. By way of example only, and not limitation, this exclusion
                 includes, but is not limited to, avoidance claims related to: (a) funds paid by NNMC, Ltd.
                 under that certain Net Profits Participation Agreement dated October 1, 2014, between
                 NNMC, Ltd, and Primrose La Sara, LLC; or (b) funds formerly on deposit with the Texas
                 Railroad Commission for the account of La Sara Operating Company, LLC.


3.       SALES PRICE: $_________ (the “Sales Price”). Payment of the Sales Price and closing of the
sale of the Property are subject to the following:

      A. Allocation of Sales Price: The Sales Price is for the entirety of the Property, with no proration;
         provided, however, Buyer may internally prorate the Sales Price for accounting purposes.

4.        EARNEST MONEY:

      A. Concurrent with the execution of this contract and provision thereof to the Seller, Buyer shall
         deposit with Seller $1,000.00 as earnest money, which will be applied to the Sales Price at closing.
         The earnest money shall be paid by cashier’s check made payable to Eva. S. Engelhart, Trustee, or
         wire transfer. If Buyer is not the Successful Bidder or Backup Successful Bidder that closes on
         the sale of the Property, all earnest money will be returned to Buyer within seven (7) days after
         closing by the Successful Bidder without offset of any kind and in addition to the payment of the
         “breakup fee” provided for herein. However, if Buyer withdraws from this agreement for any
         reason prior to the auction, all earnest money will be forfeited.

      B. If Buyer fails to deposit the earnest money as required by this contract, then this contract will


ASSET PURCHASE AGREEMENT — Page 3
APA   - Non-Stalking Horse Version
          Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 62 of 66




          immediately terminate and be of no further force and effect.

5.        PROPERTY CONDITION AND OPPORTUNITY TO INSPECT:

      A. SELLER MAKES NO REPRESENTATION, WARRANTY, STATEMENT, OR OTHER
         ASSERTION, EXPRESS OR IMPLIED, WITH RESPECT TO THE PROPERTY TO BE SOLD,
         IT’S MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE.

      B. Buyer will take the Property AS IS, WHERE IS, with any and all latent and patent defects. Buyer
         shall be fully responsible for making its own evaluation and determination as to any aspect of the
         Property. Buyer acknowledges that, having been given the opportunity to inspect and evaluate the
         Property, said Purchaser will be relying solely on said Purchaser’s own investigation and not on
         any information provided by Seller.

      C. INSPECTION: Buyer shall have the right of inspection of the Property as Ordered by the
         Bankruptcy Court in the Order setting the auction of the Property (the “Inspection Period”). Buyer
         shall have the right to withdraw this offer at any time during the Inspection Period, but not
         thereafter.

6.      CLOSING: The closing of the sale will be no earlier than 10:00 AM central time on the fifth (5th)
business day following the close of the auction of the Property, whenever set by the Court, unless the parties
agree in writing to do it sooner (the "Closing Date"). If either party fails to close by the Closing Date, the
non-defaulting party may exercise the remedies for in this agreement.

      A. At closing, Seller will execute and deliver, at Seller's expense, all conveyance and assignment
         related documents required to consummate this agreement in a form acceptable to the parties.

      B. At closing, Buyer will pay the Sales Price in good funds acceptable to the Seller, unless previously
         paid in full.

7.        DEFAULT:

      A. If Buyer fails to comply with this Contract, Buyer is in default and Seller may elect to do any or all
         of the following or a combination thereof:

                i. retain the earnest money as damages for Buyer’s breach; sell the Property to another buyer,
                   and sue for any and all other damages that may result from Buyer’s breach;
               ii. retain the earnest money and terminate the Contract with Buyer;
              iii. seek to enforce specific performance; or seek other relief as may be provided by law.

      B. If Seller fails to comply with this Contract, Seller is in default and Buyer may as its sole and
         exclusive remedy, either:

               i. terminate this Contract and receive the earnest money as liquidated damages, thereby
                  releasing the parties from this Contract; or
              ii. enforce specific performance only.


ASSET PURCHASE AGREEMENT — Page 4
APA   - Non-Stalking Horse Version
          Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 63 of 66




      C. All rights and remedies of Seller under this Paragraph will be cumulative, and none will exclude
         any other right or remedy provided by law or by any other provision of this Contract. All rights
         and remedies of Seller may be exercised and enforced concurrently and whenever, and as often, as
         occasion for their exercise arises.

8.      ATTORNEY'S FEES: If Buyer or Seller is a prevailing party in any legal proceeding brought
under or with relation to this Contract or this transaction, such party is entitled to recover from the non-
prevailing party all costs of such proceeding and reasonable attorneys' fees. This Paragraph survives
termination of this Contract.

9.        AGREEMENT OF THE PARTIES:

      A. This Contract contains the entire agreement of the parties and may not be changed except in writing.
         In the event any covenant, condition or provision herein contained is held to be invalid by final
         judgment of any Court of competent jurisdiction, the invalidity of such covenant, condition or
         provision shall not in any way affect any other covenant, condition or provision herein contained,
         which shall continue in full force and effect.

      B. If this Contract is executed in a number of identical counterparts, each counterpart is an original
         and all counterparts, collectively, constitute one agreement.

      C. Buyer may not assign this Contract.

      D. Jurisdiction regarding any disputes regarding this agreement shall be exclusively in the United
         States Bankruptcy Court and case in which Seller serves as Chapter 7 Trustee.

      E. All obligations of the parties created hereunder are performable in Harris County, Texas. In case
         any one or more of the provisions contained in this Contract shall for any reason be held to be
         invalid, illegal, and unenforceable in any respect, such invalidity, illegality, or unenforceability
         shall not affect any other provision hereof, and this Contract shall be construed as if such invalid,
         illegal, or unenforceable provision had never been contained herein. This Contract constitutes the
         sole and only agreement of the parties hereto and supersedes any prior understandings or written
         or oral agreements between the parties respecting the within subject matter and cannot be changed
         except by their written consent. Words of any gender used in this Contract shall be held and
         construed to include any other gender, and words in the singular number shall be held to include
         the plural, and vice versa, unless the context requires otherwise.

      F. As part of the sale of the Property, Seller shall assume and assign to Buyer all of its right, title and
         interest in the JOA.

      G. Buyer will assume all obligations associated with the Property and the JOA liabilities on and after
         the Closing Date. Purchaser will not assume any obligations associated with the Property and the
         JOA liabilities that existed or accrued prior to the Closing Date.

      H. To any extent necessary under applicable law in order to maintain any of the claims to be assigned
         described in Paragraph 2(f) above (“Litigation Assets”), and at the discretion of the Buyer, the
         Seller shall remain a party with respect to the prosecution of any of the Litigation Assets. The

ASSET PURCHASE AGREEMENT — Page 5
APA   - Non-Stalking Horse Version
           Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 64 of 66




           Litigation Assets and/or the value of the Litigation Assets shall be conveyed in a manner as to
           maintain standing or any other rights that are necessary to preserve and prosecute the Litigation
           Assets for the use and benefit of the Buyer and/or to maintain standing in the Bankruptcy Court;
           and if necessary in order to preserve venue, jurisdiction, and the ability to enter final orders in the
           Bankruptcy Court, the assignment of the claims and causes of action and the Adversary Proceeding
           reference and described in Section 2 above shall be only an assignment of the proceeds, remedies,
           and recovery of same, and Seller agrees to amend and/or supplement this Agreement and/or execute
           such other and further documents as may be necessary to effectuate the intentions of this Paragraph
           H.

      I.   Promptly after closing, Seller will provide to Purchaser any books, records, or other documents
           related to the Subject Assets that are in the possession, custody, and/or control of the Seller,
           including the products of the Seller’s investigation and/or diligence and/or discovery products
           obtained through and until the Effective Date. Seller will also direct counsel to provide to Purchaser
           any attorney work product related to the Subject Assets.


10.        This agreement is subject to bankruptcy court approval.

11.        Time is of the essence.




                                     {remainder of page intentionally blank}




ASSET PURCHASE AGREEMENT — Page 6
APA   - Non-Stalking Horse Version
          Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 65 of 66




Buyer:


By: ______________________________
    ______________, __________ of
    ___________________________

Title: _____________

Date: _____________




                                     {continued on following page}




ASSET PURCHASE AGREEMENT — Page 7
APA   - Non-Stalking Horse Version
          Case 16-30453 Document 58 Filed in TXSB on 11/02/16 Page 66 of 66




Seller:

By: ______________________________

Eva S. Engelhart, Trustee and not individually

Date: _____________




ASSET PURCHASE AGREEMENT — Page 8
APA   - Non-Stalking Horse Version
